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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK


TRAVELERS PERSONAL INSURANCE COMPANY,        C.A. No.
ST. PAUL FIRE AND MARINE INSURANCE COMPANY,
ST. PAUL MERCURY INSURANCE COMPANY, THE
CHARTER OAK FIRE INSURANCE COMPANY, THE
PHOENIX INSURANCE COMPANY, THE TRAVELERS
HOME AND MARINE INSURANCE COMPANY, THE
TRAVELERS INDEMNITY COMPANY, THE TRAVELERS
INDEMNITY COMPANY OF AMERICA, THE TRAVELERS
INDEMNITY      COMPANY    OF    CONNECTICUT,
TRAVELERS CASUALTY AND SURETY COMPANY,
TRAVELERS CASUALTY INSURANCE COMPANY OF
AMERICA,    TRAVELERS   PERSONAL    SECURITY
INSURANCE COMPANY, TRAVELERS PROPERTY
CASUALTY COMPANY OF AMERICA, THE STANDARD
FIRE INSURANCE COMPANY, THE AUTOMOBILE
INSURANCE COMPANY OF HARTFORD, CONNECTICUT,
AND UNITED STATES FIDELITY AND GUARANTY
COMPANY,

                           Plaintiffs,

vs.

ELECTROSTIM MEDICAL SERVICES, INC.,
MARIO GARCIA, JR.,
DEAN MULEY,
GRETCHEN DACEY-ZAVALIANOS,
YORLAN ALFONSO, AND
ROSSANA CIELO,

                           Defendants.

                    COMPLAINT AND DEMAND FOR JURY TRIAL

       The plaintiffs, Travelers Personal Insurance Company, St. Paul Fire and Marine Insurance

 Company, St. Paul Mercury Insurance Company, The Charter Oak Fire Insurance Company, The

 Phoenix Insurance Company, The Travelers Home and Marine Insurance Company, The Travelers

 Indemnity Company, The Travelers Indemnity Company of America, The Travelers Indemnity

 Company of Connecticut, Travelers Casualty and Surety Company, Travelers Casualty Insurance

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Company of America, Travelers Personal Security Insurance Company, Travelers Property

Casualty Company of America, The Standard Fire Insurance Company, The Automobile Insurance

Company of Hartford, Connecticut, and United States Fidelity and Guaranty Company,

(collectively, “Travelers” and/or “plaintiffs”), by their attorneys, King, Tilden, McEttrick & Brink,

P.C., allege as follows:

I.     INTRODUCTION

       1.      This is a case about a fraudulent durable medical equipment (“DME”) company,

Electrostim Medical Services, Inc. (“EMSI”) and its owner, Mario Garcia, Jr. (“Garcia”), and

operators, Dean Muley (“Muley”), Gretchen Dacey-Zavalianos (“Dacey-Zavalianos”), Yorlan

Alfonso (“Alfonso”), and Rossana Cielo (“Cielo”) who conspired to submit fraudulent insurance

charges for the provision of unlicensed, unnecessary, medically worthless, and fraudulently

charged DME.

       2.      EMSI is a Florida company that manufacturers interferential stimulation and

transcutaneous electrical nerve stimulation (“TENS”) devices and neuromuscular electrical

stimulation (“NMES”) devices (collectively, “TENS/NMES Devices”) and provides these devices

and related supplies and services to patients throughout numerous states, including New York.

       3.      At all relevant times, EMSI did not possess a New York City Department of

Consumer and Worker Protection (“DCWP”) license.

       4.      Despite being unlicensed, EMSI allegedly dispensed TENS/NMES Devices in New

York (including New York City and its boroughs).

       5.      The Defendants submitted fraudulent billing to Travelers for DME that was (1)

unlicensed; (2) unnecessary; (3) medically worthless; (4) billed pursuant to a pre-determined

treatment protocol; and (5) fraudulently billed.



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       6.      This is corroborated by EMSI itself, which recently paid “$20 million to resolve

allegations that they violated the False Claims Act by billing federal healthcare programs for

excessive and medically unnecessary supplies associated with [TENS] and related devices.” Press

Release, E.D. Penn., EMSI and Garcia Agreement to Pay $20 Million to Resolve Allegations

(Sept. 27, 2024), available at https://www.justice.gov/usao-edpa/pr/electrostim-medical-services-

inc-and-mario-garcia-jr-pay-20-million-resolve.

       7.      A true and accurate copy of the press release for the United States Attorney’s

Office, Eastern District of Pennsylvania is depicted below:




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       8.      In legitimate scenarios, TENS/NMES Devices are prescribed by providers to

patients for pain relief or to treat muscle weakness through the application of electrical currents

through electrodes attached to the patient’s skin.

       9.      However, the Defendants exploited TENS/NMES Devices for their personal

financial gain by purporting to dispense medically unnecessary TENS/NMES Devices and related

supplies to patients that did not need, or even want, the devices and by submitting excessive and

improper charges for the TENS/NMES Devices and related supplies to take advantage of the

patients’ available No-Fault and workers’ compensation benefits under New York law.

       10.     The Defendants did so intentionally to inflate billing.

       11.     In fact, a complaint was submitted to the New York Office of the Inspector General

alleging that EMSI was involved in durable medical billing fraud by sending supplies to claimants

and receiving supplies from other vendors.

       12.     A true and accurate copy of the complaint from the New York Office of the

Inspector General is depicted below:

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       13.    The Defendants intentionally caused providers to issue, or purport to issue,

prescriptions for TENS/NMES Devices even though there was no documented medical rationale

for the repeated use of the TENS/NMES Devices.

       14.    The Defendants intentionally caused providers to issue, or purport to issue,

prescriptions for TENS/NMES Devices for an indefinite duration, which permitted EMSI to sell

the TENS/NMES Devices at an inflated rate and continuously purport to send the patient medically

unnecessary and excessive supplies on an automatic basis in perpetuity without regard for whether

the supplies were needed or would ever be used.

       15.    True and accurate copies of consumer complaints regarding EMSI mailing

unnecessary and unwanted DME are depicted below:




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       16.    As explained below, there was no justification for the indefinite “lifetime”

prescriptions for the EMSI TENS/NMES Devices and replenishment supplies.

       17.    Further, as explained below, the Defendants were motivated to implement a

predetermined protocol of TENS/NMES Devices and replenishment supplies through the inflated

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and excessive charges that the Defendants billed the Plaintiffs in violation of the applicable fee

schedules.

       18.     Overall, the TENS/NMES Devices were prescribed and billed for in contravention

of the applicable standard of care.

       19.     The Defendants caused EMSI to submit false and fraudulent documentation in

support of its claims for benefits under New York’s No-Fault laws.

       20.     The Defendants caused EMSI to submit false and fraudulent documentation in

support of its claims for benefits under New York workers’ compensation laws.

       21.     EMSI was never eligible to receive payment for the TENS/NMES Devices and

replenishment supplies under New York law.

       22.     Overall, the Defendants engaged in a pattern of fraudulent business practices

designed to create opportunities by mailing TENS/NMES Devices and replenishment supplies to

the doorsteps of patients who did not want or need them.

       23.     The Defendants’ scheme relied on the U.S. Mail, which were used by the

Defendants (and persons working under their direction and control) to transmit records, reports,

bills, and other claim-related documents to Travelers in support of EMSI’s No-Fault and workers’

compensation claims. The Defendants (or persons working under their direction or control) caused

EMSI to submit hundreds of fraudulent bills to Travelers seeking No-Fault benefits and workers’

compensation benefits under New York law.

       24.     The Defendants knew that EMSI’s claims were false because the bills and

documents submitted to Travelers in support of the claims misrepresented or omitted material facts

about EMSI’s rights to be paid.




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        25.     The Defendants knew that EMSI was ineligible to collect No-Fault and workers’

compensation payments, yet they still created statutory claim forms that falsely certified EMSI’s

eligibility to collect such benefits.

        26.     Travelers reasonably relied on the facial validity of the records and bills mailed by

EMSI—and the representations contained therein—when making payments on EMSI’s claims.

Travelers was damaged by the fraudulent claims submitted by EMSI.

        27.     By this Complaint, Travelers brings this action against the Defendants for: (a)

violations of the federal Racketeer Influenced and Corrupt Organizations (RICO) Act, 18 U.S.C.

§ 1961, et seq.; and (b) common-law fraud.

        28.     This action seeks actual damages in excess of $340,000.00, which represent No-

Fault and workers’ compensation payments that Travelers was wrongfully induced to make to

EMSI during the course of this scheme.

        29.     Travelers also seeks a declaration pursuant to 28 U.S.C. § 2201 that it is not legally

obligated to make any further payments to EMSI (or its agents) in connection with any No-Fault

and workers’ compensation claims submitted to Travelers.

        30.     All of the acts and omissions of the Defendants described throughout this

Complaint were undertaken intentionally.

        31.     The Defendants’ fraudulent scheme was designed to elicit payment of No-Fault and

workers’ compensation benefits from Travelers to EMSI for the benefit of the Defendants.

II.     THE PARTIES

        A.      PLAINTIFFS

        32.     Travelers Personal Insurance Company, St. Paul Fire and Marine Insurance

Company, St. Paul Mercury Insurance Company, The Charter Oak Fire Insurance Company, The



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 Phoenix Insurance Company, The Travelers Home and Marine Insurance Company, The Travelers

 Indemnity Company, The Travelers Indemnity Company of America, The Travelers Indemnity

 Company of Connecticut, Travelers Casualty and Surety Company, Travelers Casualty Insurance

 Company of America, Travelers Personal Security Insurance Company, Travelers Property

 Casualty Company of America, The Standard Fire Insurance Company, The Automobile Insurance

 Company of Hartford, Connecticut, and United States Fidelity and Guaranty Company, are

 companies duly organized and exiting under the laws of the State of Connecticut with their

 principal place of business in Hartford, Connecticut.

        33.     Travelers Personal Insurance Company, St. Paul Fire and Marine Insurance

 Company, St. Paul Mercury Insurance Company, The Charter Oak Fire Insurance Company, The

 Phoenix Insurance Company, The Travelers Home and Marine Insurance Company, The Travelers

 Indemnity Company, The Travelers Indemnity Company of America, The Travelers Indemnity

 Company of Connecticut, Travelers Casualty and Surety Company, Travelers Casualty Insurance

 Company of America, Travelers Personal Security Insurance Company, Travelers Property

 Casualty Company of America, The Standard Fire Insurance Company, The Automobile Insurance

 Company of Hartford, Connecticut, and United States Fidelity and Guaranty Company, are

 authorized to conduct business in the State of New York.

        B.      DEFENDANTS

                1.     Mario Garcia, Jr.

        34.     Garcia resides in and is a citizen of the State of Florida.

        35.     Garcia is the founder and chairman of EMSI.

        36.     Garcia owns 100% of EMSI.

        37.     Garcia is not a licensed healthcare provider.



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        38.     Garcia participated in the operation and management of the EMSI and the

 association-in-fact enterprises during the relevant period, and is therefore responsible for the

 fraudulent DME, replenishment supplies, and services billed in connection with the claimants at

 issue in this Complaint.

                2.     Dean Muley

        39.     Muley resides in and is a citizen of the State of Florida.

        40.     Muley is the President of EMSI.

        41.     Muley is not a licensed healthcare provider.

        42.     Muley participated in the operation and management of the EMSI and the

 association-in-fact enterprises during the relevant period, and is therefore responsible for the

 fraudulent DME, replenishment supplies, and services billed in connection with the claimants at

 issue in this Complaint.

                3.     Gretchen Dacey-Zavalianos

        43.     Dacey-Zavalianos resides in and is a citizen of the State of Florida.

        44.     Dacey-Zavalianos is EMSI’s Executive Vice President of Operations.

        45.     Dacey-Zavalianos is not a licensed healthcare provider.

        46.     Dacey-Zavalianos participated in the operation and management of the EMSI and

 association-in-fact enterprises during the relevant period, and is therefore responsible for the

 fraudulent replenishment supplies, and services billed in connection with the claimants at issue in

 this Complaint.

                4.     Yorlan Alfonso

        47.     Alfonso resides in and is a citizen of the State of Florida.

        48.     Alfonso is EMSI’s Executive Vice President of Finance.



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        49.     Alfonso is not a licensed healthcare provider.

        50.     Alfonso participated in the operation and management of the EMSI and the

 association-in-fact enterprises during the relevant period, and is therefore responsible for the

 fraudulent DME, replenishment supplies, and services billed in connection with the claimants at

 issue in this Complaint.

                5.      Rossana Cielo

        51.     Cielo resides in and is a citizen of the State of Florida.

        52.     Cielo is EMSI’s Executive Vice President of Business Development.

        53.     Cielo is not a licensed healthcare provider.

        54.     Cielo participated in the operation and management of the EMSI and the

 association-in-fact enterprises during the relevant period, and is therefore responsible for the

 fraudulent DME, replenishment supplies, and services billed in connection with the claimants at

 issue in this Complaint.

                6.      Electrostim Medical Services, Inc.

        55.     EMSI is organized as a corporation under Florida law.

        56.     EMSI’s principal place of business is 3504 Cragmont Drive, Suite #100, Tampa,

 FL 33619.

        57.     EMSI is an enterprise whose activities affect interstate commerce.

        58.     EMSI, Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo participated in the

 operation and management of the association-in-fact enterprise during the relevant time period and

 is therefore responsible for the fraudulent DME, replenishment supplies, and services billed in

 connection with the claimants at issue in this Complaint.




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         59.    Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo participated in the operation

 and management of the EMSI enterprise during the relevant time period and are therefore

 responsible for the fraudulent DME, replenishment supplies, and services billed in connection with

 the claimants at issue in this Complaint.

         60.    EMSI billed for DME, specifically, TENS/NMES Devices, and replenishment

 supplies and services in connection with Travelers claimants.

         61.    EMSI’s bills are fraudulent because the billed-for TENS/NMES Devices and

 replenishment supplies and services were (1) unlicensed; (2) unnecessary, (3) medically worthless;

 (4) billed pursuant to a pre-determined treatment protocol; and (5) fraudulently billed.

         62.    Accordingly, EMSI was never eligible to collect payments pursuant to No-Fault

 and workers’ compensation benefits from Travelers under New York law.

 III.    JURISDICTION AND VENUE

         63.    Subject matter jurisdiction over this action is conferred upon this Court by 28

 U.S.C. §§ 1331 and 1332.

         64.    Supplemental jurisdiction over the Plaintiffs’ state law claims is proper pursuant to

 28 U.S.C. § 1367.

         65.    Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) whereas the vast majority of

 the acts known to Travelers alleged herein were carried out within the Eastern District of New

 York.

         66.    At all relevant times, the Defendants have engaged in purposeful activities in New

 York by seeking and submitting payment demands for claims made under New York’s No-Fault

 and workers’ compensation laws for patients who lived in New York or who were covered by New




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 York automobile insurance or workers’ compensation policies issued by Travelers, as detailed,

 infra.

          67.   EMSI conducted business in the State of New York by operating as a DME provider

 and delivering, or purporting to deliver, DME to patients residing in the State of New York.

          68.   On or about May 14, 2012, EMSI received authority to do business in the State of

 New York, and is currently an active foreign business corporation in the State of New York.

          69.   Moreover, on or about March 25, 2022, EMSI became enrolled as a Medicaid

 Managed Care network provider in the New York State Medicaid Program.

          70.   EMSI also employed sale representatives who marketed DME to healthcare

 providers and patients in the State of New York during the relevant period.

          71.   EMSI specifically targeted New York as part of a nationwide market. Indeed,

 EMSI’s logo includes a map of the entire United States, including New York.

          72.   EMSI reported in its Medicare application that 35% of its business is derived from

 New York.

          73.   A true and accurate copy of the EMSI Medicare application is depicted below:




          74.   EMSI’s contacts with the State of New York are substantial and not isolated.

          75.   The Defendants have therefore engaged in purposeful activities in New York by

 conducting business in New York, and by seeking and collecting payments under New York’s No-

 Fault and workers’ compensation laws.

          76.   The allegations and causes of action asserted herein arise from the Defendants’

 conduct within the State of New York, and their purposeful availment of New York’s No-Fault

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 and workers’ compensation insurance systems, and therefore there is no question that there exists

 a substantial relationship between the transactions at issue, and Allstate’s causes of action.

        77.     Overall, the fraudulent scheme alleged herein has many ties to the State of New

 York, and the ends of justice are best served through this Court’s exercise of jurisdiction over the

 Defendants.

 IV.    APPLICABLE LAWS AND REGULATIONS

        A.      NEW YORK’S NO-FAULT LAWS AND REGULATIONS

        78.     Travelers underwrites automobile insurance in the State of New York.

        79.     New York’s No-Fault laws are designed to ensure that injured victims of motor

 vehicle accidents have an efficient mechanism to pay reasonable fees for necessary healthcare

 services, including DME.

        80.     Under New York’s Comprehensive Motor Vehicle Insurance Reparations Act

 (N.Y. Ins. Law § 5101, et seq.), and the regulations promulgated pursuant thereto (11 N.Y.C.R.R.

 § 65, et seq.) (collectively, “the No-Fault laws”), automobile insurers are required to provide

 eligible persons with coverage for necessary accident-related expenses (hereinafter, “No-Fault

 benefits”).

        81.     Under New York No-Fault law, individuals are entitled to be compensated for

 “basic economic loss” resulting from injuries caused by the operation of an automobile.

        82.     “Basic economic loss” is defined to include “all necessary expenses” for medical

 services. N.Y. Ins. Law § 5102(a)(1); 11 N.Y.C.R.R. § 65-1.1.

        83.     No-Fault benefits include up to $50,000.00 per Travelers claimant for reasonable

 expenses that are incurred for necessary healthcare goods and services.

        84.     Claimants can assign their No-Fault benefits to DME providers.



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         85.     Under a duly executed assignment, a claimant’s DME provider may submit claims

 directly to an insurance company and receive payment for necessary medical services rendered,

 using the claim form required by the New York State Department of Financial Services formerly

 known as the New York State Department of Insurance (“DOI”) (known as “Verification of

 Treatment by Attending Physician or Other Provider of Health Service” or more commonly as an

 “NF-3”).

         86.     Alternatively, DME providers may submit claims to insurance carriers using the

 Health Insurance Claim Form (known as the “CMS-1500” form and formerly known as the

 “HCFA-1500” form).

         87.     The NF-3 and CMS-1500 forms are important documents in the insurance industry.

 They certify that the provider’s request for payment is not materially false, misleading, or

 fraudulent, subject to the following warning:

                 “Any person who knowingly and with intent to defraud any
                 insurance company or other persons files an application for
                 insurance or statement of claim containing any materially false
                 information, or conceals for the purpose of misleading information
                 concerning any fact material thereto, commits a fraudulent
                 insurance act, which is a crime.”

 N.Y. Ins. Law § 403(d).

         88.     A DME provider makes a material misrepresentation when it submits an NF-3 or

 CMS-1500 form that either omits or misrepresents material information about the billed-for DME

 and other services or the provider’s eligibility to collect payments.

         89.     It is a material misrepresentation to submit NF-3 or CMS-1500 forms for DME and

 other services that: (a) are never provided; (b) are not necessary; (c) are not legitimately prescribed;

 and/or (d) are billed at a greater monetary charge than is permitted by the applicable Fee Schedule.




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           90.   A DME provider is not eligible to collect payment under New York’s No-Fault

 laws if the provider fails “to meet any applicable New York State or local licensing requirement

 necessary to perform such services in New York.” See 11 N.Y.C.R.R. § 65-3.16(a)(12) (emphasis

 added).

           91.   Accordingly, if a DME provider fails to meet any applicable licensing requirement

 necessary to perform a service, then the provider is not lawfully entitled to seek or collect No-Fault

 benefits under New York’s No-Fault laws.

           92.   As alleged herein, the Defendants failed to comply with several laws and

 regulations when dispensing or purporting to dispense DME to claimants during the course of this

 scheme; therefore, the Defendants are not—and never were—eligible to seek or collect No-Fault

 benefits from Travelers.

           B.    NEW YORK’S WORKERS’ COMPENSATION LAWS AND REGULATIONS

           93.   New York requires employers to maintain workers’ compensation insurance.

           94.   Workers’ compensation insurance provides coverage for, among other things,

 medical costs if an employee becomes injured or sick as a result of the employee’s employment.

           95.   Within 45 calendar days of receiving the claim, Travelers is obligated to pay claims

 submitted by a DME supplier under New York’s workers’ compensation laws or provide written

 notice explaining why the claim is not being paid. See 12 N.Y.C.R.R. § 325-1.25(c).

           96.   However, under New York’s workers’ compensation scheme, EMSI’s charges for

 TENS/NMES Devices and replenishment supplies were not compensable.

           97.   New York’s workers’ compensation laws long sought to prevent the treatment and

 care rendered to injured claimants being a “mere commercialized venture” that “operate[s] in a

 way to exploit worker, employer and insurance carriers through prolonged treatment, padded bills,



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 and inferior professional service.” Szold v. Outlet Embroidery Supply Co., 8 N.E.2d 858, 859 (N.Y.

 1937) (affirming constitutionality of amendments to New York’s workers’ compensation law

 further regulating medical treatment), appeal dismissed 303 U.S. 623 (1938).

        98.     In 2007, New York’s workers’ compensation laws underwent a comprehensive

 reform that resulted in the New York Workers’ Compensation Board’s adoption of “Medical

 Treatment Guidelines” (“MTGs”).

        99.     “The Guidelines include the list of pre-authorized medical procedures and set forth

 limitations on the scope and duration of each procedure.” Matter of Kigin v. State of N.Y. Workers’

 Comp. Bd., 24 N.E.3d 1064, 1066 (N.Y. 2014) (holding that Workers’ Compensation Board did

 not exceed its authority when promulgating the MTGs).

        100.    Therefore, benefits sought for medically necessary DME supplied to an injured

 worker related to the injury must be in accordance with the applicable MTGs. 12 N.Y.C.R.R. §

 324.2(a).

        101.    Beginning on December 1, 2010, MTGs were implemented as the mandatory

 standard of care for the treatment of injuries involving the neck, back, shoulder, and knee. See 12

 N.Y.C.R.R. § 324.2 (2010).

        102.    Since 2010, the MTGs have been updated and supplemented to include guidance

 for additional injuries and disorders.

        103.    “The operative [MTG] shall be the [MTG] in place on the date on which medical

 services are rendered.” 12 N.Y.C.R.R. § 324.2(a).

        104.    Within 45 calendar days of receiving the claim, Travelers is obligated to pay claims

 submitted by a DME supplier under New York’s workers’ compensation laws or provide written

 notice explaining why the claim is not being paid. See 12 N.Y.C.R.R. § 325-1.25(c).



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          C.     APPLICABLE FEE SCHEDULES

          105.   Under New York’s No-Fault laws, the maximum permissible charge for DME is

 calculated in accordance with the applicable fee schedules established by the Chairman of the

 Workers’ Compensation Board and adopted by the Superintendent of the Department of Financial

 Services f/k/a the Department of Insurance. N.Y. Ins. Law § 5108; 11 N.Y.C.R.R. § 68.1.

          106.   In an opinion letter dated June 16, 2004, the Department of Insurance explained

 why strict adherence to the fee schedule for charges for DME is crucial to the No-Fault system:

                 [A]n injured person, with a finite amount of No-Fault benefits
                 available, having assigned his rights to a provider in good faith,
                 would have DME items of inflated fees constituting a
                 disproportionate share of benefits, be deducted from the amount of
                 the person’s No-Fault benefits, resulting in less benefits available
                 for other necessary health related services that are based upon
                 reasonable fees.

          107.   The New York Workers’ Compensation Board established a fee schedule for DME

 by adopting the New York State Medicaid fee schedule (“Medicaid DME Fee Schedule”) for

 durable medical equipment, medical/surgical supplies, orthopedic footwear, and orthotic and

 prosthetic appliance effective July 11, 2007. See 12 N.Y.C.R.R. § 442.2(a) (effective until June 7,

 2021).

          108.   The New York Workers’ Compensation Board’s amended 12 N.Y.C.R.R. § 442.2

 to transfer the DME fee schedule from the New York Medicaid rates to new state-specific workers’

 compensation rates (“WC DME Fee Schedule”). See 12 N.Y.C.R.R. § 442.2(a) (effective June 7,

 2021) (the WC DME Fee Schedule and Medicaid DME Fee Schedule are collectively referred to

 as the “Fee Schedule”).




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        109.    DME “dispensed on or after July 11, 2007, but prior to the most recent effective

 date of section 442.2…shall be reimbursed pursuant to the fee schedule in section 442.2…in effect

 on the date the [DME] was dispensed.” See 12 N.Y.C.R.R. § 442.2(a).

        110.    However, the Chair of the New York Workers’ Compensation Board delayed the

 implementation of the amendments of 12 N.Y.C.R.R. § 442.2 from June 7, 2021 to April 4, 2022.

        111.    Therefore, up to April 4, 2022, payment for DME under New York’s workers

 compensation laws is governed by the fee schedule set forth by the New York State Medicaid

 program. See 12 N.Y.C.R.R. § 442.2(a)-(b) (2021) (“The maximum permissible charge for the

 purchase of durable medical equipment, medical/surgical supplies, and orthotic and prosthetic

 appliances shall be the fee payable for such equipment or supplies under the New York State

 Medicaid program at the time such equipment and supplies are provided[.]”).

        112.    Up to April 4, 2022, if there was no established fee payable for a specific item under

 the New York State Medicaid, “then the fee payable, shall be the lesser of: (1) the acquisition cost

 (i.e. the line item cost from a manufacturer or wholesaler net of any rebates, discounts or other

 valuable considerations, mailing, shipping, handling, insurance costs or any sales tax) to the

 provider plus 50%; or (2) the usual and customary price charged to the general public.” See 12

 N.Y.C.R.R. § 442.2(a)(1)-(2) (2021).

        113.    New York’s workers’ compensation laws specifically exclude “separate and/or

 additional payments for shipping, handling, and delivery” from these maximum permissible

 charges. See 12 N.Y.C.R.R. § 442.2(c) (2021).

        114.    Effective on April 4, 2022, the New York State Workers’ Compensation Board

 replaced the New York State Medicaid Program’s Durable Medical Equipment Fee Schedule with

 the New York State Workers’ Compensation Durable Medical Equipment Fee Schedule. See 12



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 N.Y.C.R.R. § 442.2(a)(1)-(3) (2022) (“The maximum permissible charge for the purchase of

 durable medical equipment, medical/surgical supplies, and orthotic and prosthetic appliances shall

 be the fee payable for such equipment or supplies under the Official New York Workers’

 Compensation Durable Medical Equipment Fee Schedule[.]”).

        115.    Both the Medicaid DME Schedule and the WC DME Schedule list DME and

 orthotic devices by their corresponding Healthcare Common Procedure Coding System (HCPCS)

 Level II Codes.

        116.    The use of HCPCS codes is mandatory for transactions involving healthcare

 information.

        117.    Improper use of HCPCS codes constitutes fraudulent billing.

        118.    Certain DME items are designated in the WC Fee Schedule as requiring prior

 authorization. See 12 N.Y.C.R.R. § 442.2(b)(1).

        119.    The medical provider (e.g., physician, nurse practitioner, or chiropractor), absent a

 documented medical emergency, “must obtain prior authorization before such durable medical

 equipment may be supplied to the claimant.” See 12 N.Y.C.R.R. § 442.4(a)(1)-(3).

        120.    For DME that is not listed in the WC Fee Schedule, “prior authorization, including

 a proposed purchase price or rental price for such equipment, must be obtained and provided within

 the prior authorization request prior to prescribing or supplying such durable medical equipment.”

 See 12 N.Y.C.R.R. § 442.2(b)(2).

        121.    However, such prior authorization requirements are not applicable to No-Fault

 claims. 11 N.Y.C.R.R. § 68.1(b)(1).

        122.    In response to these amendments to the WC Fee Schedule, the Superintendent of

 the New York State Department of Financial Services adopted an emergency amendment to 11



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 N.Y.C.R.R. § 68 “to cap the purchase and total accumulated rental of DME supplies for which

 either no price has been established in the DME fee schedule or for supplies not listed in the DME

 fee schedule.”

         123.     Therefore, a new Part E(c) of Appendix 17-C to was added to establish “[t]he

 maximum permissible purchase charge for such durable medical equipment shall be the lesser of

 the: (1) acquisition cost plus 50%; or (2) usual and customary price charged by durable medical

 equipment providers to the general public.”

         124.     “Acquisition cost” is defined as “the line-item cost to the provider from a

 manufacturer or wholesaler net of any rebates, discounts or valuable consideration, mailing,

 shipping, handling, insurance costs or sales tax.” Id. at Part E(b).

         D.       NEW YORK CITY DME LICENSURE REQUIREMENTS

         125.     Section 20-425 of the New York City Administrative Code requires licensure of

 any New York City healthcare providers that dispense DME.

         126.     Subchapter 25 of Title 20 of the New York City Administrative Code specifically

 requires DME dealers (including any business that involves selling, renting, repairing or adjusting

 DME) to obtain a Dealer in Products for the Disabled License from the New York City Department

 of Consumer and Worker Protection (hereinafter referred to as a “DCWP License”).

         127.     A DCWP License is required for all New York City DME dealers to lawfully

 provide DME to the disabled. 1




 1
  ““Disabled” means a person who has a physical or mental impairment resulting from anatomical or physiological
 conditions which prevents the exercise of a normal bodily function or is demonstrable by medically accepted clinical
 or laboratory diagnostic techniques.” NYC Admin. Code §20-425.

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        128.      Section 20-426 of the New York City Administrative Code provides that it is

 “unlawful for any dealer to engage in the selling, renting, repairing, or servicing of, or making

 adjustments to, products for the disabled without a license.”

        129.      To obtain a DCWP license, a dealer must submit an application to the

 Commissioner of the Department of Consumer and Worker Protection that includes the identity of

 the applicant, the address of the DME dealer and other pertinent information concerning its officers

 and directors.

        130.      At no time were the DME Entity Defendants licensed by the DCWP to distribute

 DME and were therefore ineligible for No-Fault reimbursement.

 V.     FACTUAL ALLEGATIONS

        131.      EMSI took advantage of claimants eligible for benefits under New York’s No-Fault

 and workers’ compensation laws.

        132.      EMSI billed for DME and supplies purportedly provided to patients, including, but

 not limited to, patients employed by employers insured by Travelers and patients eligible for

 insurance coverage pursuant to automobile insurance policies issued by Allstate.

        133.      The Plaintiffs paid bills submitted to them in reasonable reliance on the documents

 and information submitted by the Defendants in support of the claims.

        134.      Travelers attempted to seek verification for EMSI in the form of requests for

 documents and an examination under oath of EMSI.

        135.      EMSI refused to comply with lawful verification.

        136.      As explained below, the Defendants intentionally engaged in a pattern of fraudulent

 billing for DME that was (1) unlicensed; (2) unlawful; (3) unnecessary; (4) medically worthless;




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 (5) billed pursuant to a pre-determined treatment protocol; and (6) fraudulently billed that resulted

 in EMSI receiving payments from the Plaintiffs to which it was not entitled.

        A.        THE OPERATION AND MANAGEMENT OF THE EMSI AND THE ASSOCIATION-IN-
                  FACT ENTERPRISES

        137.      The Defendants participated in the operation and management of the EMSI and

 association-in-fact enterprises for the purpose of obtaining reimbursement to which EMSI was not

 entitled under New York law for TENS/NMES Devices and replenishment supplies.

        138.      Garcia founded EMSI in 1995.

        139.      EMSI does business nationwide, as reflected by its logo overlayed on a map of the

 United States.

        140.      A true and accurate representation of the logo for EMSI is depicted below:




        141.      Specifically, EMSI sells small, battery-powered devices that use adhesive

 electrodes applied to the patient’s skin and connected to the device through wires to deliver either

 low-frequency electrical currents (TENS) or medium-frequency electrical currents (interferential

 stimulation) to the affected area.

        142.      EMSI also sells small, battery-powered devices that use adhesive electrodes applied

 to the patient’s skin and connected to the device through wires to apply electrical currents over the

 muscles and nerves to create muscle contractions, which is referred to as NMES therapy.


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          143.   EMSI manufactures and sells TENS units called the Flex-TENS and the Flex-IT.

          144.   A true and accurate representation of the Flex-TENS and Flex-IT are depicted

 below:




          145.   The Flex-TENS is classified by the FDA under Section 510(k) pre-market clearance

 number K090717 as a transcutaneous electrical nerve stimulator.

          146.   The Flex-IT is classified by the FDA under Section 510(k) pre-market clearance

 number K083030 as a transcutaneous electrical nerve stimulator.

          147.   EMSI also manufactures and sells NMES units called the Flex-MT Plus and the

 Flex-MI.

          148.   A true and accurate representation of the Flex-MT Plus and Flex-MI are depicted

 below:




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          149.   The Flex-MT Plus is classifed by the FDA under Section 510(k) pre-market

 clearance number K140467 as a “powered muscle stimulator.”

          150.   The Flex-MI is classified by the FDA under Section 510(k) pre-market clearance

 number K221958 as a “powered muscle stimulator.”

          151.   EMSI also sells the IF-5000 Combo Stimulator, which may be used for both

 interferential current stimulation and electrical muscle stimulation.

          152.   A true and accurate representation of the IF-5000 Combo Stimulator is depicted

 below:




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        153.    The IF-5000 Combo is classified by the FDA under Section 510(k) pre-market

 clearance number K071869 as a transcutaneous electrical nerve stimulator.

        154.    EMSI employs sales personnel, called “Territory Managers” and “Area Managers,”

 to market these devices to potential prescribing providers and patients.

        155.    Garcia personally performed one or more training attended by sales personnel.

        156.    According to Muley, during at least one training attended by sales personnel, “the

 long term strategic game plan for EMSI was discussed in great detail by Mario Garcia, EMSI’s

 President, as well as various members of the EMSI management team.”

        157.    Upon information and belief, at all relevant times, Garcia participated in the

 development and execution of EMSI’s business and marketing strategy.

        158.    Garcia also had sole control over EMSI’s bank account during the relevant period.

        159.    A true and accurate representation of Garcia having control over the EMSI bank

 account is depicted below:




        160.    Garcia compiled a team of managers to participate in the operation and

 management of EMSI, including, but not limited to, Muley, Dacey-Zavalianos, Alfonso, and Cielo.

        161.    In EMSI’s 2022 NY Medicaid Provider Enrollment Application for managed care

 only, Muley, Dacey-Zavalianos, and Alfonso were identified as EMSI’s “agents, managing

 employees, and those with a control interest.”




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        162.    Dacey-Zavalianos was identified in EMSI’s 2022 NY Medicaid Provider

 Enrollment Application as the primary contact to receive all checks.

        163.    According to EMSI’s website, Dacey-Zavalianos joined EMSI in May of 2007 and

 “is responsible for overseeing Operations which includes Billing, Patient Support Services,

 Customer Service, Medicare, and Accounts Receivables.”

        164.    Alfonso was identified in EMSI’s 2022 NY Medicaid Provider Enrollment

 Application as the primary contact to receive annual tax documents.

        165.    According to EMSI’s website, Alfonso “is responsible for the development,

 interpretation, maintenance and implementation of Company financial policies and procedures” as

 well as “[f]inancial and business plan development and execution.”

        166.    Cielo was identified in EMSI’s 2022 NY Medicaid Provider Enrollment

 Application as the primary contact to receive all correspondence.

        167.    According to EMSI’s website, Cielo joined EMSI in 2009 as Vice President of

 Business Development and “oversees contracting, payor relations, contracted revenue cycle

 management, and state compliance.”

        168.    Based on Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo’s management

 roles at EMSI, each was personally and systematically engaged in the execution of the scheme to

 defraud through the development and execution of the association-in-fact’s core business strategy:

 to repeatedly submit false and fraudulent bills for DME that were (1) unlicensed; (2) unlawful; (3)

 unnecessary; (4) medically worthless; (5) billed pursuant to a pre-determined treatment protocol;

 and (6) fraudulently billed and replenishment supplies to obtain reimbursement to which EMSI

 was not entitled for their own personal financial benefit, including such claims submitted to

 Travelers under New York’s No-Fault and workers’ compensation laws.



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        169.    Collectively, all of the Defendants associated in fact to form an enterprise that has

 an ascertainable structure beyond the pattern of mail fraud racketeering activity in which it

 engaged.

        170.    The Defendants operated together as members of an ongoing organization (the

 association-in-fact enterprise) that functioned as a continuing unit with a hierarchical and

 consensual decision-making structure.

        171.    The Defendants acted with a definite purpose—to bill Travelers for false and

 fraudulent DME and replenishment supplies.

        172.    The Defendants are all related whereas they conspired with one another to corrupt

 a legitimate business.

        173.    The Defendants have been connected for a sufficient amount of time to permit them

 to pursue the association-in-fact enterprise’s purpose.

        174.    Indeed, the Defendants banded together to commit the insurance fraud scheme

 detailed herein, which they were incapable of accomplishing on their own.

        175.    The Defendants acted together as members of an ongoing organization that

 functioned as a continuing unit.

        176.    Specifically, the Defendants intended to and did in fact defraud Travelers by

 submitting false and fraudulent insurance claims for DME and replenishment supplies.

        B.      UNLICENSED PROVISION OF DME

        177.    EMSI does not possess the necessary DME licensure required to bill insurers,

 including Travelers, for DME dispensed in New York City and its boroughs.

        178.    New York City’s Administrative Code requires that DME and orthotic device

 suppliers obtain DCWP licensure. See NYC Admin. Code § 20-425; 6 RCNY § 2-271.



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          179.   A DME supplier that does not possess the DCWP licensure is not lawfully

 permitted to provide supplies to patients located in New York City.

          180.   The DCWP has specific penalties for misrepresentations made in the licensure

 application, including revocation of the license obtained by false pretenses.

          181.   Travelers was induced to pay EMSI for unlicensed services in violation of New

 York law.

          182.   EMSI is a Florida corporation registered with the Florida Division of Corporations.

          183.   The New York City Department of Consumer and Worker Protection maintains a

 database of all businesses with a Dealer in Products License.

          184.   EMSI does not possess the requisite DME licensure to distribute DME in New York

 City.

          185.   A true and accurate copy of the New York City Department of Consumer and

 Worker Protection response to a freedom of information request regarding EMSI is depicted

 below:




          186.   Accordingly, EMSI violated New York licensure laws by providing DME to New

 York City residents without first obtaining the DCWP license, which rendered them ineligible to

 seek New York No-Fault and workers’ compensation benefits during the majority of the relevant

 time period.




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        187.       In addition to the provision of DME by unlicensed entities, the DME orders were

 motivated by financial gain, not patient need.

        188.       It is clear that EMSI was unlawfully operating in New York (without the required

 licensure or authorization from the state) during the substantial portions of the relevant time-period

 in violation of New York licensure laws rendering them ineligible to collect from Travelers.

        189.       Travelers was fraudulently induced into paying more than $340,000.00 for

 fraudulent DME by EMSI.

        190.       Accordingly, EMSI unlawfully dispensed DME to patients in New York City and

 was not eligible to submit claims to Travelers whereas they were in violation of New York

 licensure laws.

        191.       The bills submitted by the Defendants through the U.S. Mail seeking payment from

 Travelers for unlawful DME devices and supplies dispensed in New York City are fraudulent. See

 Exhibit 1.

        C.         MEDICALLY UNNECESSARY TENS/NMES DEVICES AND SUPPLIES

        192.       In a legitimate setting, the purpose of the TENS electrotherapy is to relieve pain by

 blocking a patient’s perception of pain.

        193.       In a legitimate setting, the purpose of NMES electrotherapy is to treat muscle

 weakness.

        194.       In a legitimate setting, patients are provided with the supplies necessary to operate

 the TENS/NMES Devices only when the supplies are actually needed and wanted by the particular

 patient—and not on an automatic or subscription basis.




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        195.    In a legitimate setting, patients are provided with replenishment items, such as

 chargers or lead wires, only when the equipment is damaged or worn out and there is a documented

 need for the replacement.

        196.    However, as explained below, EMSI billed for TENS/NMES Devices and

 replenishment supplies (e.g., alcohol wipes, lead wires, electrodes, vitamin E lotion, and Bio-Ice)

 to claimants that were not needed or even wanted by the claimants—if actually provided at all.

        197.    These devices—and the automatic provision of replenishment supplies—were not

 legitimately prescribed and merely used as vehicles for the Defendants to submit false and

 fraudulent claims to Travelers.

        198.    In reliance on these false and fraudulent claim submissions, Travelers was caused

 to make payments to EMSI for the benefit of the Defendants to which EMSI was not entitled under

 applicable law.

                1.      Improper Billing for Unnecessary TENS/NMES Devices Without
                        Justification

                      i.       Billing in Violation of New York’s Workers’ Compensation Board’s
                               Medical Treatment Guidelines

        199.    Claims submitted for DME supplied under New York’s workers’ compensation

 laws must comport with the applicable MTGs, including claims submitted by out-of-state

 providers.

        200.    According to the New York Workers’ Compensation Board, the MTGs set the

 standard of care for workers’ compensation claims and “are based on the best available medical

 evidence and the consensus of experienced medical professionals.”




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        201.    At all relevant times, the applicable MTG only authorized the use of TENS devices

 in a narrow set of circumstances with the necessary documentation that the patient needed the

 device and it would be effective to treat their pain.

        202.    The current MTG for knee injuries recommends the use of a TENS device only “in

 select patients as clinically indicated.” See New York Workers’ Compensation Board, Medical

 Treatment Guidelines, Knee Injury (eff. May 2, 2022).

        203.    The current MTG for the neck and low and mid back injury recommends the use of

 a TENS device only “for select use in treatment of chronic low back pain [or chronic neck pain]

 or chronic radicular pain syndrome as a second line adjunct to other first line treatments.” See New

 York Workers’ Compensation Board, Medical Treatment Guidelines, Low and Mid Back Injury

 (eff. May 2, 2022); New York Workers’ Compensation Board, Medical Treatment Guidelines,

 Neck Injury (eff. May 2, 2022).

        204.    Chronic pain is defined as pain that lasts longer than 3 months.

        205.    At all relevant times, the indications for the use of a TENS unit to treat a knee

 injury, low and mid back injury, neck injury, and shoulder injury “[i]nclude muscle spasm [and]

 atrophy.” See New York Workers’ Compensation Board, Medical Treatment Guidelines, Knee

 Injury (eff. May 2, 2022); New York Workers’ Compensation Board, Medical Treatment

 Guidelines, Mid and Low Back Injury (eff. May 2, 2022); New York Workers’ Compensation

 Board, Medical Treatment Guidelines, Neck Injury (eff. May 2, 2022); New York Workers’

 Compensation Board, Medical Treatment Guidelines, Shoulder Injury (eff. May 2, 2022); New

 York Workers’ Compensation Board, Medical Treatment Guidelines, Knee Injury (eff. Nov. 1,

 2014); New York Workers’ Compensation Board, Medical Treatment Guidelines, Mid and Low

 Back Injury (eff. Nov. 1, 2014); New York Workers’ Compensation Board, Medical Treatment



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 Guidelines, Neck Injury (eff. Nov. 1., 2014); New York Workers’ Compensation Board, Medical

 Treatment Guidelines, Shoulder Injury (eff. Nov. 1, 2014).

        206.    At all relevant time, the MTGs for knee injury, neck injury, mid and low back

 injury, and shoulder injury all specifically provide that “[c]onsistent, measurable, functional

 improvement must be documented and determination of the likelihood of chronicity prior to

 provision of a home unit.” Id. (emphasis added).

        207.    At all relevant times, according to the MTGs for knee injury, neck injury, mid and

 low back injury, and shoulder injury, a home unit may be provided or purchased “if effective”

 after three sessions. Id. (emphasis added).

        208.    Notably, at all relevant times, the MTG for mid and low back injury specifically

 states that interferential therapy is not recommended “for treatment of acute or non-acute back

 pain, nonacute radicular pain syndromes, or other back-related conditions.” See New York

 Workers’ Compensation Board, Medical Treatment Guidelines, Mid and Low Back Injury (eff.

 May 2, 2022); New York Workers’ Compensation Board, Medical Treatment Guidelines, Mid and

 Low Back Injury (eff. Nov. 1, 2014).

        209.    As explained further below, there was no documentation to support the orders for

 TENS Devices billed by EMSI, including no documentation of a successful trial of the device prior

 to provision of a home unit, no documentation of measurable improvement with the use of the

 device, and no documentation that the device would be effective to treat the patient’s chronic pain.

        210.    Even if justified in the first instance (they were not), EMSI routinely billed for

 TENS Devices far beyond the period of time for which TENS use is reasonable and necessary.




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                         ii.     Billing in Violation of the Applicable Standard of Care

         211.    Although the MTGs do not apply to No-Fault claims, the MTGs’ directions for

 TENS device use in a narrow set of circumstances with the necessary documentation that the

 patient needed the device and it would be effective to treat their pain applies is consistent with the

 standard of care applicable to all claims.

         212.    In a legitimate setting, the use of a TENS/NMES Device should start with a 30 day

 trial with documentation of efficacy justifying continued use.

         213.    Indeed, any electrical stimulation modality is a second-line therapy following the

 failure of other conservative treatments.

         214.    However, EMSI billed for TENS/NMES Devices and replenishment supplies that

 were prescribed indiscriminately without any documented indications that the device would be

 effective to treat the patients’ pain.

         215.    Moreover, the American Academy of Neurology deems the use of TENS devices

 for chronic low back pain to be ineffective.

         216.    The American Academy of Neurology found that there were no significant

 differences in the outcomes for patients with chronic low back pain who used a TENS device

 compared with those who used a sham TENS device.

         217.    Additionally, interferential currents also have been found to provide no additional

 clinical benefits over first-line conservative treatment for patients with low back or lower extremity

 pain.

         218.    Therefore, devices providing TENS and interferential currents are not

 recommended for the treatment of chronic low back pain due to lack of proven efficacy.




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          219.    However, EMSI purported to dispense TENS Devices to patients reporting chronic

 low back pain even though the device—and all replenishment supplies—were ineffective to treat

 the patients’ pain and were no more effective than a placebo.

          220.    Additionally, in a legitimate setting, a TENS/NMES device should not be

 prescribed for use in perpetuity.

          221.    An initial prescription for lifetime use of a TENS/NMES unit—with a lifetime of

 refills—is simply unnecessary, excessive, and woefully below the standard of care.

          222.    Rather, the prescribing provider must provide regular supervision and identify the

 metrics to warrant ongoing use of the TENS/NMES unit.

          223.    The continued use of a TENS/NMES unit should be based on objective documented

 efficacy and functional improvement.

          224.    A TENS/NMES device should be employed as a dynamic modality that is not one-

 size fits all.

          225.    Indeed, the treatment plan for a TENS/NMES device must be tailored to a patient’s

 individual needs through a healthcare provider’s continuous monitoring, including the adjustment

 of the placement of the electrodes and the settings used by the particular patient as their condition

 progresses.

          226.    Over time, a patient may develop a tolerance to the TENS device and no longer

 experience any relief; in this instance, the patient should be instructed to discontinue use.

          227.    Indeed, EMSI itself concedes that “[w]ith continued treatment over an extended

 period of time, a patient will accommodate to a TENS unit and the unit will not have the same

 results.”




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         228.    However, as explained below, EMSI purported to dispense TENS/NMES Devices

 and replenishment supplies to patients without any documentation that the device would be

 effective to treat their pain.

         229.    The TENS/NMES devices were billed to Travelers by EMSI without sufficient

 documentation of critical information regarding the efficacy, analgesic response, or functional

 improvement to substantiate ongoing use and ongoing refills of supplies.

                         iii.     Billing in Violation of EMSI’s Own Manuals for the TENS/NMES
                                  Devices

         230.    EMSI’s own manuals regarding the use of their TENS/NMES Devices are

 consistent with the standard of care and clinical guidelines.

         231.    According to EMSI’s user manuals (“Manuals”), the TENS Devices are intended

 to be used for (a) symptomatic relief of chronic intractable pain and (b) post-traumatic or post-

 surgical pain relief, which are the intended uses for which the FDA has cleared these TENS

 devices.

         232.    According to EMSI’s Manuals for the Flex-MI, Flex-MT, and IF-5000, the NMES

 Devices also are intended to be used for (a) relaxation of muscle spasm, (b) increasing local blood

 circulation, (c) muscle re-education, (d) prevention or retardation of disuse atrophy, (e) prevention

 of venous thrombosis of the calf muscles immediately after surgery, and (f) maintaining or increase

 range of motion.

         233.    The Manuals acknowledge that proper “patient selection” by a qualified pain

 management provider is essential to the “effectiveness” of the TENS/NMES Devices. In other

 words, only select patients with specific indications will benefit from the TENS/NMES Devices

 and thus the TENS/NMES Devices cannot be prescribed or dispensed indiscriminately.




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         234.   The Manuals also warn that the TENS/NMES Devices “should be used only under

 the continued supervision of a physician.” (Emphasis added.). Indeed, the TENS/NMES Devices

 require the prescribing practitioner to select the appropriate electrode placement and stimulation

 settings.

         235.   Moreover, the Manuals admit that the “long-term effects of chronic electrical

 stimulation are unknown.”

         236.   Therefore, the Defendants were well-aware of the indications for the TENS/NMES

 Devices and thus intentionally billed for TENS/NMES Devices and replenishment supplies for an

 indefinite duration that they knew were ineffective, unnecessary, and potentially dangerous for the

 claimants at issue in this Complaint.

         237.   All of the bills submitted by the Defendants through the U.S. Mail seeking payment

 from Travelers for unnecessary TENS/NMES devices are fraudulent. See Exhibits 2-3.

                2.     Improper Billing for Unnecessary TENS/NMES Supplies

         238.   Replenishment supplies for a TENS/NMES Device also must be reasonable and

 necessary.

         239.   Replenishment supplies are only reasonable and necessary when the TENS/NMES

 Device for which they are intended is also reasonable and necessary.

         240.   The supplies billed by EMSI in connection with the TENS/NMES Devices

 routinely included electrodes, batteries, skin wipes, vitamin E lotion, lead wires and topical Bio-

 Ice. However, these supplies were either wholly unnecessary in the first instance or provided more

 frequently than necessary—or both.

         241.   There was no documentation that EMSI regularly and consistently contacted

 patients to confirm that the items were needed and wanted before sending resupplies to the patient.



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          242.   Indeed, upon information and belief, patients received numerous shipments of

 TENS/NMES supplies from EMSI that they did not use or want and that ultimately went to waste.

          243.   Lead wires come with each TENS/NMES Device.

          244.   Replacement of lead wires more often than every 12 months would rarely be

 reasonable and necessary.

          245.   Moreover, no analysis was done by EMSI to determine whether patients even used

 the DME device warranty replenishment supplies.

          246.   Indeed, the Medicaid Fee Schedule contains frequency rules that limit the

 frequency with which DME items may be dispensed.

          247.   During portions of the relevant time period, under these frequency rules, lead wires

 billed under A4557 could only be dispensed once per year. Prior approval with accompanying

 documentation must be obtained to exceed that limit.

          248.   A true and accurate representation of the frequency rules for A4557 are depicted

 below:




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        249.    However, EMSI routinely billed for replacement of lead wires every 6 months,

 which was excessive and unnecessary, without obtaining the required prior approval to exceed the

 once per year limit under the Medicaid Fee Schedule.

        250.    The TENS/NMES Devices are battery operated. According to the Manual for the

 TENS/NMES Devices, the battery pack is rechargeable “using the supplied proprietary EMSI

 battery charger.” According to the Manuals, replacement of the battery pack is only necessary

 “if/when battery becomes inefficient.”

        251.    However, EMSI routinely billed for 4 additional batteries even though these

 batteries were wholly unnecessary given that the TENS/NMES Devices were operated using the

 supplied rechargeable battery pack and charger.

        252.    Even if the replacement batteries were medically necessary for use of the

 TENS/NMES Device (they were not), the Medicaid Fee Schedule limits the frequency of the

 dispensing of the replacement batteries to twice per year.

        253.    Again, it was unknown by EMSI whether the patient even used the DME device

 for a sufficient period of time to warrant replacement batteries.




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        254.      EMSI routinely billed for unnecessary replacement batteries on a monthly basis

 without obtaining the required prior approval to exceed the twice per year limit under the Medicaid

 Fee Schedule.

        255.      According to the Manuals, the electrode pads are reusable and should only be

 replaced if not in “good condition.”

        256.      Based on typical orders of three-times daily use of the TENS/NMES Device, two

 sets of electrode pads would be sufficient for a 30-day period.

        257.      Again, EMSI did not know whether the patient used the DME device for a sufficient

 period of time to warrant electronic pad replenishment supplies.

        258.      Indeed, the Medicaid Fee Schedule limits the amount and frequency of replacement

 electrodes under A4556 to 2 pairs once per month.

        259.      EMSI states in correspondence to Travelers that the frequency of electrode

 replacement “varies due to skin condition, climate, care and use of the product,” which is not

 consistent with the automatic provision of excessive electrodes without regard to actual patients’

 varying needs.

        260.      However, EMSI routinely dispensed between 16 and 24 electrode pads at a time,

 without obtaining the required prior approval to exceed 2 pairs per month limit under the Medicaid

 Fee Schedule.

        261.      For example, EMSI billed Travelers under New York’s workers’ compensation

 laws for a Flex TENS unit under E0730 purportedly dispensed to claimant A.T. (FRT2634) on

 February 18, 2021 along with 16 electrode pads under A4556 and 4 batteries under A4630.

        262.      A true and accurate representation of EMSI billing A.T. is depicted below:




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        263.    The next month, on March 18, 2021, EMSI purported to deliver resupplies to A.T.,

 including forty-eight (48) units of skin wipes (A4245), three (3) ounces of vitamin E lotion,

 twenty-four (24) electrodes, and four (4) batteries.

        264.    A true and accurate representation of EMSI billing A.T. is depicted below:




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        265.    EMSI proceeded to continue to bill under New York’s workers’ compensation laws

 for these unnecessary supplies purportedly provided to A.T. on a monthly basis for an additional

 5 months:

                  Date of Service                        Billed-For Supplies (quantity)
  4/18/2021                                       Box of Skin Wipes (48)
                                                  Vitamin E Lotion 1oz (3)
                                                  Electrodes (24)
                                                  Batteries (4)
  5/19/2021                                       Box of Skin Wipes (48)
                                                  Vitamin E Lotion 1oz (3)
                                                  Electrodes (24)
                                                  Batteries (4)
                                                  Delivery
  6/19/2021                                       Box of Skin Wipes (48)
                                                  Vitamin E Lotion 1oz (3)
                                                  Electrodes (24)
                                                  Batteries (4)
                                                  Bio-Ice (3)
                                                  Delivery
  7/19/2021                                       Box of Skin Wipes (48)
                                                  Vitamin E Lotion 1oz (3)
                                                  Electrodes (24)
                                                  Batteries (4)
                                                  Lead Wires (2)
                                                  Delivery
  8/16/2021                                       Box of Skin Wipes (48)
                                                  Vitamin E Lotion 1oz (3)
                                                  Electrodes (24)
                                                  Batteries (4)
                                                  Lead Wires (2)
                                                  Delivery

        266.    The Manuals indicate that the electrodes should be placed on clean and dry skin,

 but do not specify how the skin is to be cleaned. However, EMSI routinely billed for numerous

 boxes of alcohol skin wipes under HCPCS code A4245 in the packages of resupplies purportedly

 delivered to patients.

        267.    However, the provider ordering the TENS/NMES Devices never recommended or

 ordered alcohol wipes.

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         268.    Each invoice typically included 48 units of A4245, which is defined as “Alcohol

 wipes, per box” and indicates that the code represents an entire box of alcohol wipes. Each box

 typically contains 100 alcohol wipes.

         269.    Therefore, EMSI’s bills reflect that 4,800 alcohol wipes were dispensed at a time,

 and in the case of A.T., on a monthly basis.

         270.    If A.T. used three (3) alcohol wipes per day, a single box would suffice for one

 month and the remaining forty-seven (47) boxes were unnecessary and excessive.

         271.    The Manuals warn that “some patients” may experience “possible” or “isolated”

 skin irritation at the site of the electrode placement.

         272.    Although not all patients will experience skin irritation through use of the

 TENS/NMES Devices, EMSI routinely supplied all patients with vitamin E lotion, which is used

 to relieve minor skin irritations.

         273.    However, the provider ordering the TENS/NMES Devices never recommended or

 ordered vitamin E lotion.

         274.    Vitamin E lotion can be purchased over the counter for approximately $0.49 per

 ounce compared to the inflated amount of $9.51 per ounce charged by EMSI.

         275.    EMSI billed for vitamin E lotion under HCPCS code A4362, which is described as

 “skin barrier; solid, 4 x 4 or equivalent; each” and falls under “Ostomy Supplies.” Therefore, this

 code is properly reported for the use of a solid skin barrier of 4 by 4 inches or equivalent that

 connects the skin to an ostomy pouch. This code is wholly inappropriate to use with a

 TENS/NMES Device as billed by EMSI.

         276.    EMSI routinely billed under A9900 for a product called “Bio-Ice” purportedly

 provided to patients in packages of supplies. See Exhibit 10.



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         277.   HCPCS code A9900 is a miscellaneous DME supply code.

         278.   Bio-Ice is an over-the-counter topical gel with an active ingredient of 5.4% menthol

 acting as an analgesic (i.e., pain reliever) and 0.48% camphor acting as a counter irritant.

         279.   EMSI is the manufacturer of Bio-Ice and thus included this product in its

 predetermined package of supplies to increase its profits.

         280.   Indeed, the prescribing providers never recommended or ordered Bio-Ice for their

 patients.

         281.   In many, if not all, instances, Bio-Ice was not indicated for the patient’s condition.

         282.   Bio-Ice is marketed for the temporary relief of arthritis, backache, strains, and

 sprains.

         283.   Moreover, products similar to Bio-Ice are readily available over-the-counter at a

 fraction of the price charged by EMSI. Specifically, the similarly named product Bio-Freeze is

 available in the same roll-on application as Bio-Ice in a 4% menthol concentration. A 3oz container

 of Bio-Freeze is available for purchase at approximately $12.00 while EMSI routinely charged

 $99.00 for three 3oz units of Bio-Ice.

         284.   EMSI improperly billed for Bio-Ice under HCPCS code A9900 because a topical

 gel is not a DME item.

         285.   EMSI also improperly billed for delivery of replenishment supplies under HCPCS

 code A9901, which code represents the delivery and set up of DME. However, supplies such as

 batteries, skin wipes, electrodes, and lotion are not considered DME for the purposes of A9901.

         286.   In certain instances, EMSI also billed for conductive garments purportedly for use

 in connection with the TENS/NMES Devices.




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          287.   Conductive garments are used in place of standard electrodes. Therefore, any

 electrodes billed for a patient also purportedly dispensed with a conductive garment were not

 necessary.

          288.   However, the use of a conductive garment is rarely reasonable and necessary.

          289.   A conductive garment only may be necessary where the area to be treated is large

 or inaccessible, where the use of conventional electrodes is not feasible due to frequency of

 treatment, where the patient has a documented medical condition (e.g., skin condition) that

 precludes conventional electrodes, or where the patient requires treatment beneath a cast.

          290.   EMSI did not document any justification for billed-for conductive garments and

 these garments were not reasonable and necessary. See Exhibit 11.

          291.   For example, claimant S.D. (VNM3063) purportedly was prescribed with an Flex

 TENS and a Flex Gar conductive garment for the neck on September 15, 2017.

          292.   EMSI purportedly provided the neck garment billed under E0731, the Flex TENS,

 four (4) batteries, and sixteen (16) electrodes to S.D. on September 25, 2017.

          293.   A true and accurate representation of EMSI billing for CPT code E0731 is depicted

 below:




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        294.      Overall, EMSI used the TENS/NMES Devices to justify monthly packages of

 unnecessary supplies that were provided more frequently and in greater quantities than were

 necessary or permitted under the applicable Fee Schedule as a means to further exploit New York’s

 No-Fault and workers’ compensation laws and unsuspecting claimants.

        295.      All of the bills submitted by the Defendants through the U.S. Mail seeking payment

 from Travelers for unnecessary and/or worthless replenishment supplies are fraudulent. See

 Exhibits 4-12.

                  3.     Improper Automatic Provision of TENS/NMES Supplies

        296.      Refills of TENS/NMES Supplies should not be automatically shipped on a

 predetermined basis.

        297.      By confirming that the claimant actually needs a refill of supplies, the DME

 provider ensures that the supplies are reasonable and necessary and truly wanted.

        298.      However, EMSI automatically shipped TENS/NMES supplies to claimants who

 did not want or need the supplies.


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        299.    Upon information and belief, the claimants send the billed-for supplies back to

 EMSI or they simply go unused and are discarded.

        300.    Upon information and belief, EMSI did not confirm that the claimant needed,

 wanted, or even used the supplies before dispensing them to the claimant.

        301.    Indeed, according to claimants who were purportedly dispensed TENS Devices and

 accompany supplies at issue in this Complaint, EMSI repeatedly sent them supplies that they did

 not use because they did not want or need the supplies.

        302.    By automatically shipping packages of supplies to the claimants’ homes without

 confirming whether they needed or wanted the supplies (or even used the previously dispensed

 supplies), the Defendants created billing opportunities at the expense of the claimants who were

 literally left holding the bag of unneeded and unwanted supplies.

        303.    These claimants were then saddled with the responsibility to shoulder the cost and

 time to store, dispose, or send back the supplies while EMSI profited.

        304.    Such experiences with EMSI are corroborated by numerous negative reviews from

 consumers around the country who also have been victims of EMSI’s unscrupulous business

 practices.

        305.    True and accurate copies of negative reviews of EMSI are depicted below:




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        306.   These complaints detail recurring deliveries of supplies on essentially a

 subscription basis that the consumers did not request or authorize EMSI to make.

        307.   Therefore, the TENS/NMES supplies billed to Travelers by EMSI that were

 dispensed on an automatic basis without regard to the claimant’s actual needs were not necessary

 and are not compensable under New York’s No-Fault and workers’ compensation laws.

        308.   All of the bills submitted by the Defendants through the U.S. Mail seeking payment

 from Travelers for unnecessary TENS/NMES devices and replenishment supplies are fraudulent.

 See Exhibits 2-12.

               4.      Unauthorized Prescriptions for TENS/NMES Devices

        309.   EMSI billed for the TENS/NMES devices pursuant to prescriptions purportedly

 provided by the providers using EMSI’s pre-printed form styled as a “Letter of Medical Necessity”

 (“LOMN”).

        310.   EMSI provided prescribing providers with a checklist pre-populated with EMSI’s

 devices to facilitate the prescription of one of the TENS/NMES Devices as illustrated by the

 representative example below for claimant J.V. (FMQ1228).

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        311.   A true and accurate representation of an EMSI LOMN is depicted below:




        312.   Each LOMN served as the prescription for the TENS/NMES Device.

        313.   The LOMNs were a crucial part of the Defendants’ scheme to defraud because they

 were precluded from billing for the TENS/NMES Devices without a prescription.




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            314.   Indeed, EMSI’s manuals for the TENS/NMES Devices cautions patients that

 “Federal law requires a prescription from your physician before use of this product.” See 21 C.F.R.

 § 801.109(b)(1).

            315.   A true and accurate representation of the EMSI manual for the TENS/NMES

 Devices is depicted below:




            316.   However, these LOMNs were unreasonable and below the standard of care because

 they fail to adequately set forth a specific rationale to substantiate the necessity of the

 TENS/NMES Device.

            317.   Moreover, upon information and belief, an EMSI employee—and not the treating

 physician—completed the form that served as the basis for EMSI’s false and fraudulent charges.

            318.   Upon information and belief, an EMSI “territory manager” or other employee

 would complete the LOMN form for each claimant rather than the physician who purportedly

 prescribed the device.

            319.   Upon information and belief, the territory manager would induce the claimant to

 agree to accept the TENS/NMES Device with promises that the device was covered by their

 insurance.

            320.   The EMSI employees created the LOMN to create billing opportunities at the

 expense of the claimants and Plaintiffs.

            321.   As a result, the LOMNs do not comport with the actual treatment plan for each

 patient.


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        322.       For example, claimant J.V. purportedly was prescribed an EMSI Flex TENS by his

 orthopedist, Anthony Cappellino, M.D. (“Cappellino”), on February 4, 2020 following a right knee

 arthroscopy on January 20, 2020.

        323.       However, the report of Cappellino’s examination of J.V. on February 4, 2020 does

 not discuss or even reference the prescription of a Flex TENS device for J.V. Rather, Cappellino

 recommends that J.V. proceed with physical therapy. Likewise, the physical therapist’s note dated

 February 5, 2020 also does not reference a prescription for a Flex TENS device.

        324.       Indeed, none of Cappellino’s records for J.V. or J.V.’s physical therapy notes

 reference a prescription for a Flex TENS device.

        325.       There was no justification for a prescription for a Flex TENS device for J.V.,

 particularly for an indefinite duration. There is no indication in J.V.’s medical records that

 Cappellino ever intended to incorporate the lifetime use of a Flex TENS device into J.V.’s

 treatment plan.

        326.       The LOMN purporting to prescribe lifetime use of a Flex TENS device to J.V.

 following arthroscopic knee surgery, including to treat supposed chronic pain, disuse atrophy, and

 “muscle spasms,” is a sham, and, upon information and belief, was not actually authorized by

 Cappellino for J.V. Indeed, the Flex TENS is not indicated for these uses, which are the intended

 uses of a NMES device, such as the Flex-MT Plus.

        327.       Moreover, nowhere in Cappellino’s February 4, 2020 report does he indicate that

 J.V. presented with muscle spasms.

        328.       Additionally, the diagnosis identified in the LOMN for J.V., M25.561 (pain in right

 knee), likewise does not appear in Cappellino’s February 3, 2020 report for J.V.; rather, he

 diagnosed J.V. with acute meniscal tear, (S83.289A-836.1), acute medial meniscus tear of right



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 knee (S83.241A-836.0), other internal derangements of right knee (M23.8X1-717.9), and

 chondromalacia of right knee (M94.261-717.7).

        329.    Therefore, EMSI’s charges for the Flex TENS device and replenishment supplies

 purportedly provided on February 28, 2020 by EMSI for claimant J.V., along with additional

 supplies purportedly provided by EMSI to J.V. on May 28, 2020, August 28, 2020, and November

 28, 2020, were fraudulent because they were unnecessary, unwanted, and unauthorized.

        330.    Indeed, each EMSI LOMN contains a boilerplate paragraph that each prescribing

 provider purportedly attests to, which states that “In accordance with accepted medical standards,

 it is my opinion that the above named patient requires the device and attendant supplies for the

 above diagnosis. Dispense as written, no substitute permitted. If the device is purchased, I

 prescribe the device and supplies for indefinite use.”

        331.    This paragraph does not, in fact, comport with so-called “accepted medical

 standards” whereas an initial prescription for lifetime use of a TENS unit, with lifetime refills, is

 simply unnecessary, excessive, and below the standard of care.

        332.    Rather, the Defendants used this paragraph as manufactured justification for

 potentially endless charges for EMSI’s own branded TENS devices and supplies, which as

 explained below, were billed in excess of the amounts permitted under the applicable Fee

 Schedule.

        333.    All of the bills submitted by the Defendants through the U.S. Mail seeking payment

 from Travelers for unnecessary TENS/NMES devices and replenishment supplies based on false

 LOMNs are fraudulent. See Exhibits 2-12.




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        D.      INFLATED CHARGES FOR TENS/NMES DEVICES AND SUPPLIES

        334.    The Defendants intentionally caused EMSI to submit charges for TENS/NMES

 Devices and replenishment supplies that inflated the amounts billed in excess of the applicable Fee

 Schedules.

        335.    The Defendants engaged in fraudulent billing practices through EMSI to maximize

 the amounts charged to Travelers as part of their scheme to obtain amounts to which EMSI was

 not entitled under New York’s No-Fault and workers’ compensation laws.

        336.    As explained below, as a result of these fraudulent billing practices, EMSI was not

 lawfully entitled to receive payment on the false and fraudulent bills submitted to Travelers.

                1.      Improper Charges for TENS/NMES Devices Under E1399

        337.    EMSI routinely submitted charges for the TENS/NMES Devices using improper

 codes intentionally selected to inflate EMSI’s charges to Travelers.

        338.    DME items are billed using the HCPCS codes.

        339.    EMSI incorrectly billed for TENS/NMES Devices, including the Flex MT, Flex IT,

 and IF-5000 Combo, using HCPCS Code E1399.

        340.    HCPCS Code E1399, which is found in the section of HCPCS that pertains to

 unlisted oxygen supply items, is described as “Durable medical equipment, miscellaneous.”

        341.    HCPCS Code E1399 is not appropriate for reporting other forms of DME especially

 when the DME item being supplied has a specific code.

        342.    HCPCS Code E1399 is inappropriate for use in billing for Flex IT and IF-5000

 Combo because such devices are appropriately reported using E0730.

        343.    HCPCS Code E0730 is described as “Transcutaneous electrical nerve stimulation

 (tens) device, four or more leads, for multiple nerve stimulation.”


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        344.    HCPCS Code E1399 is inappropriate for use in billing for Flex MT because such

 devices are appropriately reported using E0745.

        345.    HCPCS Code E0745 is described as “Neuromuscular stim for shock.”

        346.    The chart below contains representative examples of EMSI’s false and fraudulent

 charges for TENS/NMES Devices under E1399:

                                             Billed-For                           Amount
      Claimant          Date of Service        Device           Code               Billed
  M.C. (E2W6151)       5/21/2019          Flex IT           E1399              $1,495
  T.B. (E7M6093)       9/6/2018           Flex IT           E1399              $1,495
  J.M. (EGG9953)       11/2/2010          IF 5000           E1399              $2,495
  J.C. (FAW9378)       12/4/2018          Flex MT           E1399              $1,495


        347.    The permissible charge under the current WC DME Fee Schedule for a TENS

 Device billed under E0730 is only $76.25.

        348.    Likewise, the permissible charge under the Medicaid DME Fee Schedule for a

 TENS Device billed under E0730 also was only $76.25 during the relevant period.

        349.    In certain instances, EMSI did use E0730 to bill for TENS Devices, thus

 demonstrating knowledge that TENS Devices should be billed under E0730—and not E1399.

        350.    However, even when billing under E0730, EMSI routinely submitted inflated

 charges to Travelers for TENS Devices. For example, for claimant M.C. (E7E1095), EMSI

 charged $495.00 for a Flex TENS device under E0730 in violation of the New York Workers’

 Compensation DME Fee Schedule. See Exhibit 3.

        351.    A true and accurate copy of a representative sample of EMSI billing E0730 at

 excessive rates is depicted below:




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        352.    EMSI’s bills for TENS/NMES Devices billed under E1399 and E0730 are not

 compensable under the applicable Fee Schedules.

        353.    All of the bills submitted by the Defendants through the U.S. Mail seeking payment

 from Travelers for HCPCS Codes E1399 and E0730 are fraudulent. See Exhibits 2-3.

                2.      Improper Unbundling of Charges for TENS/NMES Supplies Included
                        with Device

        354.    Unbundling refers to a fraudulent billing tactic where a provider bills for

 components of a service separately when there is one code that describes the entire service.

        355.    The proper codes for the TENS Devices (E0730) and NMES Devices (E0745)

 include the initial supplies associated with the unit.

        356.    Indeed, EMSI’s Manuals for the TENS/NMES Devices direct the user to use the

 “electrodes and leadwires that came with the unit.”

        357.    A true and accurate representative sample of the EMSI manual for Flex-TENS is

 depicted below:



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          358.   Likewise, the rechargeable battery pack and battery charging device also were

 included with the TENS/NMES Device as they are necessary for the TENS/NMES Device to

 operate.

          359.   When billing for the TENS/NMES Devices, however, EMSI improperly billed

 separately for included supplies, including electrodes, chargers, batteries, and lead wires on the

 same date of service.

          360.   For example, EMSI billed for 16 electrodes (A4556) and 4 batteries (A4630)

 separately from the Flex TENS unit purportedly provided to claimant L.B. (FSR0425) on June 16,

 2021 even though the electrodes and batteries were included in the charge for the underlying TENS

 Device:

          361.   A true and accurate copy of a representative sample of EMSI unbundling is depicted

 below:




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          362.   Likewise, for claimant J.M. (CIS1860), EMSI improperly billed Travelers for the

 Flex TENS unit along with unbundled charges for four (4) batteries (A4630), a charger (E1399),

 sixteen (16) electrodes (A4556), and a pair of lead wires (A4557).

          363.   A true and accurate copy of a representative sample of EMSI unbundling is depicted

 below:




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        364.    EMSI’s bills for initial TENS/NMES Supplies, including, but not necessarily

 limited to, those billed under A4556 (electrodes), A4557 (lead wires), E1399 (charger), and A4630

 (batteries), are not compensable under the applicable fee schedules.

        365.    All of the bills submitted by the Defendants through the U.S. Mail seeking payment

 from Travelers for unbundled HCPCS Codes A4556 (electrodes), A4557 (lead wires), E1399

 (charger), and A4630 (batteries) are fraudulent. See Exhibits 2, 7-9.

                3.      Improper Unbundling of Charges for TENS/NMES Resupplies

        366.    EMSI used the billed-for TENS/NMES Devices as a vehicle to generate additional

 charges for a laundry list of unnecessary supplies.

        367.    EMSI also improperly billed for TENS/NMES resupplies to further maximize the

 amounts billed to Travelers.

        368.    EMSI billed for TENS/NMES resupply items separately even though such supplies

 should be billed under one code (A4595), which allows reporting of all the TENS resupply items.

 By billing for these items separately, EMSI engaged in unbundling, which is a fraudulent billing

 practice.

        369.    A TENS supply allowance under A4595 is an all-inclusive code and includes items

 such as electrodes, skin preparation materials, and batteries.

        370.    However, in numerous instances, EMSI submitted bills containing separate charges

 for electrodes, skin wipes, vitamin E lotion, and batteries.

        371.    For example, for claimant S.W. (E3R6693), EMSI billed separately for TENS

 supplies on 20 dates of service between September 21, 2015 and March 21, 2019, including skin

 wipes (A4245), vitamin E lotion (A4362), electrodes (A4556), and batteries (A4630), purportedly

 for use in connection with the TENS Device dispensed to the claimant on August 21, 2015.



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        372.   However, EMSI should have billed for these supplies in one charge under A4595.

        373.   Below are true and accurate copies of representative examples of EMSI’s bills for

 TENS resupplies purportedly dispensed to S.W. on September 21, 2015 and March 21, 2020.




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        374.    Notably, although EMSI continued to bill for resupplies for claimant S.W. over the

 course of over four years, upon information and belief, S.W. last used the TENS Device for which

 the supplies were intended in 2016.

        375.    Therefore, these resupplies were not medically necessary and were not eligible for

 reimbursement because EMSI failed to confirm whether the patient needed or wanted the

 supplies—which S.W. did not for the dates of service between, at least, 2017 and 2020.

        376.    In certain instances, EMSI billed for TENS supplies under A4595, which illustrates

 both the Defendants’ knowledge of A4595 and the differential in the charges between the bundled

 and unbundled charges.

        377.    For example, when EMSI billed for medically unnecessary TENS supplies under

 A4595, it charged a total of $120 for two units whereas EMSI’s separate charges for batteries,

 vitamin E lotion, skin wipes, and 24 electrodes totaled over $300.00. Therefore, EMSI

 intentionally unbundled the charges for TENS supplies to maximize the charges submitted to

 Travelers.

        378.    Indeed, EMSI’s unbundled charges also grossly exceeded the permissible amounts

 under the applicable fee schedules.

        379.    Additionally, as noted above, the unnecessary batteries and vitamin E lotion billed

 by EMSI required prior authorization, which was never sought, and thus these supplies were not

 compensable under New York’s workers’ compensation laws.

        380.    Likewise, under the WC DME Fee Schedule, monthly TENS supplies under A4595

 are designed as “PAR,” which means that prior authorization was required for these supplies before

 they could be supplied to the claimant.




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        381.     Thus, even if EMSI’s charges under New York’s workers’ compensation law for

 resupplies were properly billed and medically necessary (they were not), EMSI’s charges under

 A4595 also were noncompensable because no prior authorization was obtained.

        382.     The medical provider (i.e., the prescribing provider) never obtained prior

 authorization in accordance New York’s workers’ compensation law before EMSI automatically

 shipped resupplies to workers’ compensation claimants.

        383.     EMSI’s bills for unneeded, unwanted, and falsely charged TENS/NMES

 resupplies, including, but not necessarily limited to, those billed under A4595, A4245, A4362,

 A4556, and A4630, are not compensable under the applicable Fee Schedules.

        384.     All of the bills submitted by the Defendants through the U.S. Mail seeking payment

 from Travelers for HCPCS Codes A4595, A4245, A4362, A4556 and A4630 are fraudulent. See

 Exhibits 4-8.

                 4.     Improper Delivery Charges

        385.     Notably, EMSI does not submit any proof of delivery in support of its charges for

 the TENS/NMES Devices, supplies, and resupplies.

        386.     Such proof of delivery, including identification of the specific TENS/NMES

 Device and supplies delivered along with the signature of the patient acknowledging receipt of the

 TENS/NMES Device and/or supplies, is conspicuously absent from EMSI’s claims submissions.

        387.     Nonetheless, EMSI routinely tacked on an improper $30.00 delivery charge under

 code A9901 to its bills submitted to Travelers for TENS/NMES Devices, supplies, and resupplies

 purportedly dispensed by EMSI.

        388.     Code A9901 is used for charges for “DME delivery, set up, and/or dispensing

 service component of another HCPCS code.”



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        389.    In New York, delivery of DME cannot be separately paid and the “maximum

 permissible charge” represents payment in full. 12 N.Y.C.R.R. § 442.2 (setting forth the

 “maximum permissible charge” for DME under New York’s Workers’ Compensation law); 12

 N.Y.C.R.R. § 442.2 (2020) (“The maximum permissible charge for the purchase [or rental] of

 durable medical equipment…are payment in full and there are no separate and/or additional

 payments for shipping, handling, and delivery.”).

        390.   Under the WC DME Fee Schedule, A9901 requires preauthorization and thus

 cannot be billed as a matter of course. Prior authorization was never sought for EMSI’s delivery

 charges under A9901 and these charges are not compensable.

        391.   Indeed, according to CMS guidance, delivery costs for DME are considered to be

 part of a DME provider’s costs of doing business and are not separately reimbursable absent rare

 and unusual circumstances. See Medicare Claims Processing Manual, IOM Pub 100-4, Chapter

 20, Section 60.

        392.       According to EMSI, the delivery charges under A9901 submitted for TENS/NMES

 Devices and supplies merely encompassed EMSI’s packaging for shipping the unit or supplies

 shipped by DHL carrier service or United States Mail.

        393.    Below is a true and accurate copy of a representative example of EMSI’s

 explanation for the delivery charges revealing that the charge is noncompensable:




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        394.    EMSI never documented any unusual circumstances outside of its normal business

 activity accompanying its shipping or mailing of TENS/NMES Devices and supplies to Travelers

 claimants.

        395.    There is no setup required for the TENS/NMES Devices or related supplies.

        396.    Therefore, EMSI did not provide any setup services to claimants in connection with

 the billed-for TENS/NMES Devices or supplies.

        397.    Upon information and belief, Travelers claimants who were shipped or mailed a

 TENS/NMES Devices by EMSI were provided Manuals supplied by EMSI with directions on use

 of the device and no one showed them how to use the device upon delivery.

        398.    Therefore, EMSI’s pattern of billing for delivery services under A9901, and its

 misrepresentations of these charges as compensable, represented billing for services not rendered.

        399.    EMSI’s bills for delivery charges under A9901 are not compensable under the

 applicable Fee Schedules.

        400.    All of the bills submitted by the Defendants through the U.S. Mail seeking payment

 from Travelers for HCPCS Code A9901 are fraudulent. See Exhibit 12.

        E.      SPECIFIC EXAMPLES OF FALSE AND FRAUDULENT CHARGES FOR MEDICALLY
                UNNECESSARY TENS/NMES DEVICES AND RELATED SUPPLIES

 Exemplar Claim—Claimant A.T. (FRT2634)

        401.    Claimant A.T. was injured at work on or about December 29, 2020 when he slipped

 and fell onto his right low back.

        402.    A.T. was examined by Gaurav Jaswal, M.D. (“Jaswal”) on December 31, 2020 for

 complaints of right low back pain.

        403.    Jaswal diagnosed A.T. with acute right-sided low back pain with right-sided

 sciatica and referred A.T. to physical therapy.


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        404.    A.T. followed up with Jaswal on January 21, 2021. At this visit, A.T. reported that

 his pain had improved with PT, as well as through oral and topical NSAIDs.

        405.    Despite A.T.’s reports of improvement of his pain through physical therapy and

 other measures, Jaswal prescribed A.T. with “a standard TENS unit” at this follow-up visit “for

 his low back pain.”

        406.    Jaswal did not document that A.T. had undergone any trial of TENS therapy at the

 time of the prescription of the TENS unit.

        407.    At the outset, the TENS unit prescribed by Jaswal was not justified to treat A.T.’s

 low back pain before A.T. had undergone a sufficient course of conservative care, including a trial

 of a TENS unit demonstrating its efficacy.

        408.    The MTG in effect at the time of the prescription of the TENS unit for A.T.

 specifically states that “[c]onsistent, measurable, functional improvement must be documented and

 a determination made of the likelihood of chronicity prior to the provision of a home unit.”

        409.    Jaswal did not document any improvement following a trial of a TENS unit for A.T.

        410.    Jaswal did not make any determination of the likelihood that A.T.’s pain would be

 chronic.

        411.    Moreover, the American Academy of Neurology deems TENS devices to be

 ineffective to relieve low back pain such as that complained of by A.T.

        412.    Jaswal purportedly signed an “EMSI - Letter of Medical Necessity” regarding a

 Flex TENS unit and Flex-Gar conductive garment for the back.

        413.    The territory manager handling this referral to A.T. was Ashley Harvey who, upon

 information and belief, is an EMSI territory manager serving central New York.

        414.    This LOMN misrepresented the necessity of the TENS unit for A.T.



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        415.    The LOMN indicated that A.T. had a history of “chronic pain”; however, on

 February 12, 2021, only six (6) weeks had passed since the date of A.T.’s injury. “Chronic pain”

 is defined as pain that has lasted for at least three (3) months. At no time as of February 12, 2021

 had Jawal diagnosed A.T. with “chronic pain”; rather, he diagnosed A.T. with “acute pain.”

        416.    The LOMN also identifies “other” history of “muscle spasm and atrophy” even

 though Jawal never documented either finding for A.T. as of February 12, 2021.

        417.    The LOMN also prescribes the Flex TENS unit to A.T. for an excessive period

 encompassing A.T.’s “lifetime.” Notably, Jaswal did not specify use of the TENS unit for such an

 indefinite period.

        418.    A true and accurate representation of the prescribed plan for A.T. is depicted below:




        419.    Jaswal did not prescribe any particular supplies for A.T.’s use with this TENS unit.

        420.    EMSI purportedly provided the Flex TENS unit to A.T. on February 18, 2021,

 along with 16 electrodes and 4 batteries with a $30 delivery charge for a total charge of $691.08.

        421.    A true and accurate copy of EMSI’s billing for A.T. on February 18, 2021 is

 depicted below:




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        422.    EMSI’s charge for the Flex TENS unit for A.T. was excessive and in violation of

 the applicable Fee Schedule.

        423.    EMSI charged $495.00 for the Flex TENS for A.T. even though the Medicaid Fee

 Schedule in effect on February 18, 2021 set the permissible charge for the unit at only $76.25.

        424.    EMSI also unbundled the electrodes and batteries from the Flex TENS unit and

 improperly billed for these included items separately.

        425.    EMSI further submitted inflated charges for these items by billing for 16 electrodes

 under A4556 even though the applicable Medicaid Fee Schedule limits the amount and frequency

 of replacement electrodes under A4556 to 2 pairs once per month at a rate of $6.13.

        426.    EMSI also billed Travelers for 4 batteries under A4630 even though applicable

 Medicaid Fee Schedule allows for a maximum of 1 unit of this code at a rate of $2.46.

        427.    EMSI never sought authorization to bill for 16 electrodes and 4 batteries for A.T.

        428.    EMSI continued to bill Travelers for excessive resupplies purportedly sent to A.T.

 on a monthly basis from March 2021 to August 2021.



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         429.   EMSI billed Travelers a total of $2,154.90 for these TENS resupplies even though

 there is no evidence that A.T. needed or wanted the supplies and DME resupplies should not be

 provided on an automatic, subscription basis.

         430.   EMSI billed for 24 additional electrodes each month for A.T. for a total of 124

 electrodes, which was grossly excessive given that, at most, 2 sets of electrodes should suffice

 each month for the use of a medically necessary TENS device.

         431.   EMSI also billed for Vitamin E lotion, Bio-Ice, and skin wipes purportedly

 delivered—along with a noncompensable delivery charge—to A.T. even though the prescribing

 provider never indicated that A.T. needed these items in connection with the TENS unit.

         432.   These items were excessively charged and unnecessary for use in connection with

 the Flex TENS device billed by EMSI because this device, and all related supplies, were no more

 effective than a sham device to treat A.T.’s lower back pain.

         433.   Travelers is entitled to recover all payments made to EMSI in connection with these

 services. To the extent that any of EMSI’s charges for the Flex TENS and related supplies for

 A.T. remain unpaid, Travelers has no further obligation to make payment because EMSI’s charges

 for A.T. are not compensable under New York’s workers’ compensation laws.

         434.   EMSI mailed all of these false bills and related documentation through the U.S.

 Mail.

 Exemplar Claim—Claimant M.W. (A4N6468)

         435.   Claimant M.W. reportedly sustained a work-related injury to his right shoulder on

 December 22, 2015.

         436.   M.W. underwent an initial medical examination of his right shoulder on January 7,

 2016 and was diagnosed with right should strain and rotator cuff tendinitis.



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          437.   Following a right shoulder MRI, M.W. was diagnosed with partial rotator cuff tear

 and initiated treatment with an orthopedist on February 29, 2016.

          438.   On June 3, 2016, M.W. was examined at the orthopedist’s office by Brandon

 Weaver, PA (“Weaver”), under the supervision of Bradley Raphael, M.D. (“Raphael”). Weaver

 prescribed M.W. with a TENS unit.

          439.   However, on July 5, 2016, non-party CPR Medical Supply supplied M.W. with a

 TENS unit and electrodes prescribed by Raphael.

          440.   However, a few weeks later, on July 26, 2016, EMSI purported to supply M.W.

 with a second, and wholly unnecessary and redundant, TENS unit purportedly prescribed by

 Weaver along with 16 electrodes and 4 batteries and a $30 delivery charge.

          441.   EMSI submitted excessive charges for the TENS unit and supplies totaling

 $691.08, including a $495.00 charge for the Flex TENS unit (E0730) alone.

          442.   A true and accurate copy of EMSI’s billing for M.W. on July 26, 2016 is depicted

 below:




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        443.    However, the Medicaid Fee Schedule in effect on July 26, 2016 set the permissible

 charge for the unit at only $76.25.

        444.    EMSI also unbundled the electrodes and batteries from the Flex TENS unit and

 improperly billed for these included items separately.

        445.    EMSI further submitted inflated charges for these items by billing for 16 electrodes

 under A4556 even though the applicable Medicaid Fee Schedule limits the amount and frequency

 of replacement electrodes under A4556 to 2 pairs once per month at a rate of $6.13.

        446.    EMSI also billed Travelers for 4 batteries under A4630 even though applicable

 Medicaid Fee Schedule allows for a maximum of 1 unit of this code at a rate of $2.46.

        447.    EMSI never sought authorization to bill for 16 electrodes and 4 batteries for A.T.

        448.    According to the LOMN purportedly signed by Weaver on June 22, 2016, he

 prescribed the TENS unit for M.W. for “lifetime” use.

        449.    The lifetime duration of the prescription for the TENS unit was wholly unnecessary

 and unjustified. Indeed, according to Weaver, M.W. presented with “0%” temporary impairment

 soon after on September 14, 2016 when M.W. was last examined by Weaver.

        450.    According to M.W., the last time that he treated with the orthopedist was in 2016.

        451.    Weaver’s September 14, 2016 examination report does not reference M.W.’s use

 of a TENS unit or document any beneficial effect from the TENS unit.

        452.    Even though M.W.’s purported TENS use was not under the supervision of a

 physician or physician assistant after September 14, 2016; and M.W. was not impaired as of this

 date; and the EMSI device was wholly redundant and unnecessary for M.W.’s care, EMSI

 inexplicably continued to purport deliver TENS resupplies to M.W. like clockwork every February

 26, May 26, August 26, and November 26 for four years until August 26, 2020.



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        453.   Specifically, in each instance, EMSI billed for unnecessary and excessive supplies,

 including 48 units of skin wipes (A4245), 3oz of Vitamin E Lotion (A4362), 24 electrodes

 (A4556), and 4 batteries (A4630).

        454.   EMSI also included unnecessary and excessive charges for topical Bio-Ice (A9900)

 with the May and November deliveries and an additional 2 lead wires (A4557) in the February and

 August deliveries.

        455.   A true and accurate representation of EMSI’s billing in connection with M.W. is

 depicted below:




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         456.    There is no documentation or indication that M.W. needed or wanted these supplies

 and thus the regular charges for resupplies were improperly billed on an automatic basis.

         457.    Indeed, upon information and belief, M.W. began sending the supplies back to

 EMSI in 2020.

         458.    Overall, EMSI billed Travelers $6,937.05 for TENS resupplies that were

 unnecessary, excessive, and falsely charged.

         459.    Travelers is entitled to recover all payments made to EMSI in connection with these

 services. To the extent that any of EMSI’s charges for the Flex TENS and related supplies for

 M.W. remain unpaid, Travelers has no further obligation to make payment because EMSI’s

 charges for M.W. are not compensable under New York’s workers’ compensation laws.

         460.    EMSI mailed all of these false bills and related documentation through the U.S.

 Mail.




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 Exemplar Claim—R.C. (AHE8201)

        461.    Claimant R.C. reportedly injured his cervical spine in a work-related accident on

 December 18, 2011.

        462.    As early as July 11, 2018, R.C.’s provider Billy Carstens, D.O. (“Carstens”)

 reported that R.C. had previously attempted a TENS unit to treat his pain, apparently without any

 benefit as R.C. continued to experience consistent neck pain.

        463.    Indeed, on December 19, 2018, R.C. continued to report ongoing neck pain from

 the work injury to Carstens.

        464.    Carstens did not discuss any rationale for the provision of a TENS home unit to

 R.C. in his report of his December 19, 2018 exam of R.C. or even indicate that one was being

 prescribed.

        465.    Nonetheless, Carstens purported to sign an EMSI LOMN for a Flex TENS unit for

 R.C. on January 3, 2019.

        466.    This LOMN for R.C. fell below the standard of care because it did not provide a

 specific rationale to substantiate use of the TENS and was written for an excessive “lifetime”

 duration.

        467.    A true and accurate representation of a portion of the Letter of Medical Necessity

 for R.C. is depicted below:




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          468.   The following day, January 4, 2019, EMSI purported to provide R.C. with a Flex

 TENS unit (E0730), 4 batteries (A4630), and 16 electrodes (A4556), along with a delivery charge

 (A9901).

          469.   A true and accurate copy of EMSI’s billing for R.C. on January 4, 2019 is depicted

 below:




          470.   However, the Medicaid Fee Schedule in effect on January 4, 2019 set the

 permissible charge for the Flex TENS unit under E0730 at only $76.25.

          471.   EMSI also unbundled the electrodes and batteries from the Flex TENS unit and

 improperly billed for these included items separately.




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        472.    EMSI further submitted inflated charges for these items by billing for 16 electrodes

 under A4556 even though the applicable Medicaid Fee Schedule limits the amount and frequency

 of replacement electrodes under A4556 to 2 pairs once per month at a rate of $6.13.

        473.    EMSI also billed Travelers for 4 batteries under A4630 even though applicable

 Medicaid Fee Schedule allows for a maximum of 1 unit of this code at a rate of $2.46.

        474.    EMSI never sought authorization to bill for 16 electrodes and 4 batteries for R.C.

        475.    There was no objective documentation that the EMSI TENS unit was effective and

 provided R.C. with functional improvement. Rather, Carstens simply noted on January 30, 2019

 that R.C. “feels the TENS unit helps.”

        476.    This subjective assessment lacks any specific objective findings regarding the

 efficacy and analgesic response to the TENS unit to substantiate ongoing use and ongoing refills

 of supplies.

        477.    R.C. was examined on numerous occasions from January 2019 through August

 2022 by several providers, including an orthopedic surgeon, a neurosurgeon, and his primary care

 provider. None of these providers even mentioned R.C.’s use of a TENS unit in their reports of

 their examination and treatment of R.C.

        478.    In fact, these providers actually reported that R.C. was not using any modalities.

        479.    Additionally, approximately six (6) months after Carstens purportedly prescribed

 R.C. with a lifetime prescription for the TENS unit, on July 12, 2019, he discharged R.C. from

 treatment.

        480.    However, EMSI continued to bill for TENS resupplies purportedly delivered to

 R.C. from August 4, 2019 through February 4, 2022 without any supervision by the prescribing

 physician, which is contrary to the standard of care.



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        481.   On a regular, recurring basis, EMSI billed for packages of medically unnecessary

 and excessive TENS resupplies, including numerous batteries (A4630), electrodes (A4556),

 Vitamin E lotions (A4362), skin wipes (A4245), lead wires (A4557), and Bio-Ice (A9900).

        482.   A true and accurate representation of EMSI billing in connection with R.C. is

 depicted below:




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         483.   Upon information and belief, at no time did EMSI confirm that R.C. needed or

 wanted these supplies, but billed for them anyway.

         484.   Overall, EMSI billed Travelers approximately $5,401.53 for TENS resupplies for

 R.C. that were unnecessary, excessive, and falsely charged.

         485.   Travelers is entitled to recover all payments made to EMSI in connection with these

 services. To the extent that any of EMSI’s charges for the Flex TENS and related supplies for

 R.C. remain unpaid, Travelers has no further obligation to make payment because EMSI’s charges

 for R.C. are not compensable under New York’s workers’ compensation laws.

         486.   EMSI mailed all of these false bills and related documentation through the U.S.

 Mail.


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 Exemplar Claim—T.C. (A7K7475)

        487.    Claimant T.C. reportedly injured his lower right back at work on July 21, 2011.

        488.    T.C.’s physician, David Carlson, M.D. (“Carlson”) purportedly prescribed an

 EMSI Flex TENS unit and a Flex-Gar garment for the lower back on July 25, 2012 using a

 preprinted EMSI LOMN form.

        489.    T.C. continued to follow-up with Carlson on a semi-annual basis until at least

 September 2020.

        490.    From November 2014 until at least May 2020, EMSI continued to bill for packages

 of TENS supplies purportedly delivered to T.C. without any documentation from Carlson that T.C.

 was even continuing to use the TENS unit prescribed years prior in July 2011.

        491.    The reports of Carlson’s follow-up examinations of T.C. conducted nearly every

 April and October of each year for 2017, 2018, 2019, and 2020 never even mention T.C.’s TENS

 device use, let alone provide assessments of the efficacy of the TENS device for treatment of

 T.C.’s lower back pain and objective justifications for its continued use.

        492.    Rather, Carlson reported that pain medication and chiropractic treatments relieved

 T.C.’s pain.

        493.    Moreover, as of October 2018, Carlson reported that T.C. had reached maximal

 medical improvement.

        494.    Despite no documented justification from the prescribing for continued use of the

 TENS device and related supplies for T.C.—and no indication whatsoever that the T.C. even was

 using the device—EMSI persisted in billing Travelers for the unnecessary and excessive TENS

 resupplies, including Vitamin E lotion (A4362), electrodes (A4556), batteries (A4630), Bio-Ice

 (A9900), skin wipes (A4245), and lead wires (A4557).



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       495.   True and accurate copies of EMSI billing are depicted below:




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         496.   Upon information and belief, at no time did EMSI confirm that T.C. needed or

 wanted these supplies, but billed for them anyway.

         497.   Overall, EMSI billed Travelers approximately $7,382.23 for TENS resupplies for

 T.C. between February 2016 and May 2020 that were unnecessary, excessive, and falsely charged.

         498.   Travelers is entitled to recover all payments made to EMSI in connection with these

 services. To the extent that any of EMSI’s charges for the Flex TENS and related supplies for

 T.C. remain unpaid, Travelers has no further obligation to make payment because EMSI’s charges

 for T.C. are not compensable under New York’s workers’ compensation laws.

         499.   EMSI mailed all of these false bills and related documentation through the U.S.

 Mail.




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 VI.    SPECIFIC ALLEGATIONS OF MAIL FRAUD RACKETEERING ACTIVITY

        500.    The Defendants (a) created, prepared, and submitted (or caused to be created,

 prepared, and submitted) false No-Fault and workers’ compensation claim reimbursement

 documentation, (b) intentionally violated the laws of the United States by devising, and intending

 to devise, schemes to defraud and obtain money and property using false and fraudulent pretenses

 and representations, and (c) placed, or caused to be placed, in a post office and/or authorized

 depository for mail matter, things to be sent and delivered by the United States Postal Service, in

 violation of 18 U.S.C. § 1341 (mail fraud), to execute, or attempt, such fraudulent schemes.

        501.    Unless otherwise pled to the contrary, all documents, notes, reports, invoices,

 prescription forms, appeals, delivery receipts, CMS-1500 forms, letters of medical necessity, other

 No-Fault and workers’ compensation claim reimbursement documents, assignment of benefits

 forms, letters, and requests for payment in connection with the insurance claims referenced

 throughout this pleading (and accompanying exhibits) traveled through the U.S. Mail.

        502.    Every workers’ compensation claim detailed within this Complaint involved at

 least two uses of the U.S. Mail, including the mailing of, among other things, the notice of claim,

 initial policies, insurance payments, claim-related payments, and the return of the canceled

 payment instruments to the financial institution(s) from which the draft(s) were drawn.

        503.    Every automobile insurance claim detailed within this Complaint involved at least

 two uses of the U.S. Mail, including the mailing of, among other things, the notice of claim, initial

 policies, insurance payments, claim-related payments, and the return of the canceled payment

 instruments to the financial institution(s) from which the draft(s) were drawn.




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         A.       EMSI ENTERPRISE

         504.     EMSI represented in its Medicare Application that it only does business through

 the U.S. Mail.

         505.     Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo either personally used (or

 caused the use of) the U.S. Mail to further this fraudulent scheme by causing claimants’

 prescription records and treatment records, assignment of benefits forms, letters of medical

 necessity, and/or invoices/bills from EMSI to be mailed to Travelers (and/or counsel for claimants)

 or acted with knowledge that the use of the U.S. Mail would follow in the ordinary course of

 business.

         506.     Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo caused EMSI to falsely

 certify that it was eligible to be reimbursed under New York’s No-Fault and workers’

 compensation laws each time that EMSI mailed (or was caused to mail) a demand for payment

 (i.e., invoice or bill) to Travelers.

         507.     Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo’s participation in the

 operation and management of EMSI, which included, among other things, (a) owning, managing,

 and/or operating EMSI, (b) profiting from the operation of EMSI, (c) facilitating unlawful and

 illegitimate prescriptions and orders between EMSI and prescribers, (d) dispensing medically

 unnecessary TENS Devices and supplies to EMSI patients, and (e) causing EMSI to submit false

 and fraudulent New York No-Fault and workers’ compensation claims to Travelers, rendered

 EMSI completely ineligible for both No-Fault and workers’ compensation reimbursement under

 New York law.




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         508.   As a result of the above-described conduct, Garcia, Muley, Dacey-Zavalianos,

 Alfonso, and Cielo purposely caused EMSI to make a misrepresentation every time that EMSI

 mailed (or was caused to mail) a document to Travelers claiming eligibility for reimbursement.

         509.   Moreover, because (a) Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo

 engaged in (or caused) the above-described unlawful conduct through their participation in the

 operation and management of EMSI, (b) Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo

 caused EMSI to seek reimbursement from Travelers (even though EMSI was not lawfully entitled

 to such reimbursement), and (c) EMSI used (or was caused to use) the U.S. Mail to seek

 reimbursement, it is clear that Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo committed

 mail fraud.

         510.   At all relevant times, Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo knew

 that EMSI (including its employees, owner(s), contractors, and agents), a customer, a claimant, an

 insurance carrier, a claimant’s attorney, other healthcare providers, or Travelers would use (or be

 caused to use) the U.S. Mail in connection with each of the fraudulent claims, including issuing

 payments based upon the documentation submitted by (or on behalf of) EMSI.

         511.   Travelers estimates that the unlawful operation of the EMSI enterprise generated

 hundreds of mailings. A table highlighting selected examples of mailings made in furtherance of

 this scheme is annexed at Exhibit 13 and incorporated herein by reference as if outlined in its

 entirety.

         B.     EMSI ASSOCIATION-IN-FACT ENTERPRISE

         512.   EMSI, Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo either personally used

 (or caused the use of) the U.S. Mail to further this fraudulent scheme by causing claimants’

 prescription records and treatment records, assignment of benefits forms, letters of medical



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 necessity, and/or invoices/bills from the EMSI association-in-fact enterprise to be mailed to

 Travelers (and/or counsel for claimants) or acted with knowledge that the use of the U.S. Mail

 would follow in the ordinary course of business.

        513.    EMSI, Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo caused EMSI to

 falsely certify that it was eligible to be reimbursed under New York’s No-Fault and workers’

 compensation laws each time that the EMSI association-in-fact enterprise mailed (or was caused

 to mail) a demand for payment (i.e., invoice or bill) to Travelers.

        514.    EMSI, Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo’s participation in the

 operation and management of the EMSI association-in-fact enterprise, which included, among

 other things, (a) owning, managing, and/or operating EMSI, (b) profiting from the operation of

 EMSI, (c) facilitating unlawful and illegitimate prescriptions and orders between EMSI and

 prescribers, (d) dispensing medically unnecessary TENS Devices and supplies to EMSI patients,

 and (e) causing EMSI to submit false and fraudulent New York No-Fault and workers’

 compensation claims to Travelers, rendered EMSI completely ineligible for both No-Fault and

 workers’ compensation reimbursement under New York law.

        515.    As a result of the above-described conduct, EMSI, Garcia, Muley, Dacey-

 Zavalianos, Alfonso, and Cielo purposely caused the EMSI association-in-fact enterprise to make

 a misrepresentation every time that EMSI mailed (or was caused to mail) a document to Travelers

 claiming eligibility for reimbursement.

        516.    Moreover, because (a) EMSI, Garcia, Muley, Dacey-Zavalianos, Alfonso, and

 Cielo engaged in (or caused) the above-described unlawful conduct through their participation in

 the operation and management of the EMSI association-in-fact enterprise, (b) EMSI, Garcia,

 Muley, Dacey-Zavalianos, Alfonso, and Cielo caused EMSI to seek reimbursement from Travelers



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 (even though EMSI was not lawfully entitled to such reimbursement), and (c) EMSI used (or was

 caused to use) the U.S. Mail to seek reimbursement, it is clear that EMSI, Garcia, Muley, Dacey-

 Zavalianos, Alfonso, and Cielo committed mail fraud.

         517.    At all relevant times, EMSI, Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo

 knew that the EMSI association-in-fact enterprise (including its employees, owner(s), contractors,

 and agents), a customer, a claimant, an insurance carrier, a claimant’s attorney, other healthcare

 providers, or Travelers would use (or be caused to use) the U.S. Mail in connection with each of

 the fraudulent claims, including issuing payments based upon the documentation submitted by (or

 on behalf of) EMSI.

         518.    Travelers estimates that the unlawful operation of the EMSI association-in-fact

 enterprise generated hundreds of mailings. A table highlighting selected examples of mailings

 made in furtherance of this scheme is annexed at Exhibit 13 and incorporated herein by reference

 as if outlined in its entirety.

 VII.    SPECIFIC ALLEGATIONS OF FRAUDULENT CONCEALMENT AND
         MATERIAL MISREPRESENTATIONS MADE TO AND RELIED UPON BY
         TRAVELERS

         A.      EMSI ENTERPRISE

         519.    At all relevant times during the operation of the EMSI enterprise, Garcia, Muley,

 Dacey-Zavalianos, Alfonso, and Cielo purposely caused EMSI to falsely certify that it was eligible

 to be reimbursed under New York’s No-Fault and workers’ compensation laws to induce Travelers

 to promptly pay charges related to TENS/NMES Devices and supplies purportedly provided to

 Travelers Claimants who were caused to be customers of EMSI.

         520.    During the relevant period, Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo

 directly participated in the operation and management of EMSI.



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        521.    Because Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo were responsible

 for causing EMSI’s (a) billing Travelers for TENS/NMES Devices and supplies that were not

 medically necessary and were completely unjustified to treat the Travelers Claimants’ purported

 injuries, (b) falsely charging for TENS/NMES Devices and supplies with the knowledge that such

 devices and supplies were not lawfully reimbursable under New York’s No-Fault and workers’

 compensation laws, (c) charging Travelers for TENS/NMES Devices and supplies at grossly

 excessive rates and in violation of applicable Fee Schedules, and (d) dispensing TENS/NMES

 Devices and supplies in violation of applicable regulatory requirements, EMSI was caused to

 falsely claim eligibility for No-Fault and workers’ compensation reimbursement each and every

 time that EMSI sought No-Fault reimbursement from Travelers.

        522.    As alleged above, Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo caused

 EMSI to create and submit to Travelers No-Fault and workers’ compensation reimbursement

 documents and demands for payment relative to TENS/NMES Devices and supplies that were (a)

 unlicensed, (b) unnecessary, (c) medically worthless, (d) billed pursuant to a pre-determined

 protocol, and/or (e) fraudulently billed.

        523.    Such conduct is unlawful, and rendered each such claim fraudulent under New

 York’s No-Fault and workers’ compensation laws.

        524.    Many of the Defendants’ false, fraudulent, and unlawful acts are not readily evident

 within the documents submitted to Travelers by these Defendants and upon which Travelers relied

 in adjusting the claims and tendering payment in connection with each discrete patient claim.

        525.    Thus, every time that Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo caused

 EMSI to submit No-Fault and workers’ compensation reimbursement demands to Travelers,




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 Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo necessarily certified that EMSI was eligible

 to be reimbursed under New York’s No-Fault and workers’ compensation laws.

         526.   The full extent of Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo’s

 fraudulent and unlawful acts relative to their participation in the EMSI enterprise was not known

 to Travelers until shortly before it commenced this action.

         B.     EMSI ASSOCIATION-IN-FACT ENTERPRISE

         527.   At all relevant times during the operation of the EMSI association-in-fact

 enterprise, EMSI, Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo purposely caused EMSI

 to falsely certify that it was eligible to be reimbursed under New York’s No-Fault and workers’

 compensation laws to induce Travelers to promptly pay charges related to TENS/NMES Devices

 and supplies purportedly provided to Travelers Claimants who were caused to be customers of

 EMSI.

         528.   During the relevant period, EMSI, Garcia, Muley, Dacey-Zavalianos, Alfonso, and

 Cielo directly participated in the operation and management of the EMSI association-in-fact

 enterprise.

         529.   Because EMSI, Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo were

 responsible for causing EMSI’s (a) billing Travelers for TENS/NMES Devices and supplies that

 were not medically necessary and were completely unjustified to treat the Travelers Claimants’

 purported injuries, (b) falsely charging for TENS/NMES Devices and supplies with the knowledge

 that such devices and supplies were not lawfully reimbursable under New York’s No-Fault and

 workers’ compensation laws, (c) charging Travelers for TENS/NMES Devices and supplies at

 grossly excessive rates and in violation of applicable Fee Schedules, and (d) dispensing

 TENS/NMES Devices and supplies in violation of applicable regulatory requirements, EMSI was



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 caused to falsely claim eligibility for No-Fault and workers’ compensation reimbursement each

 and every time that EMSI sought No-Fault reimbursement from Travelers.

        530.    As alleged above, EMSI, Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo

 caused the EMSI association-in-fact enterprise to create and submit to Travelers No-Fault and

 workers’ compensation reimbursement documents and demands for payment relative to

 TENS/NMES Devices and supplies that were (a) unlicensed, (b) unnecessary, (c) medically

 worthless, (d) billed pursuant to a pre-determined protocol, and/or (e) fraudulently billed.

        531.    Such conduct is unlawful, and rendered each such claim fraudulent under New

 York’s No-Fault and workers’ compensation laws.

        532.    Many of the Defendants’ false, fraudulent, and unlawful acts are not readily evident

 within the documents submitted to Travelers by these Defendants and upon which Travelers relied

 in adjusting the claims and tendering payment in connection with each discrete patient claim.

        533.    Thus, every time that EMSI, Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo

 caused the EMSI association-in-fact enterprise to submit No-Fault and workers’ compensation

 reimbursement demands to Travelers, EMSI, Garcia, Muley, Dacey-Zavalianos, Alfonso, and

 Cielo necessarily certified that EMSI was eligible to be reimbursed under New York’s No-Fault

 and workers’ compensation laws.

        534.    The full extent of EMSI, Garcia, Muley, Dacey-Zavalianos, Alfonso, and Cielo’s

 fraudulent and unlawful acts relative to their participation in the EMSI association-in-fact

 enterprise was not known to Travelers until shortly before it commenced this action.

 VIII. TRAVELERS’ JUSTIFIABLE RELIANCE

        535.    Each claim submitted to Travelers by EMSI was verified according to Insurance

 Law § 403.



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         536.    To induce Travelers to promptly pay EMSI’s invoices, the Defendants submitted

 (or caused to be submitted) to Travelers CMS-1500 bills certifying that EMSI was eligible to be

 reimbursed under New York’s No-Fault and workers’ compensation laws.

         537.    Further, to induce Travelers to promptly pay the fraudulent charges for

 TENS/NMES Devices and supplies purportedly provided to Travelers Claimants, the Defendants

 hired attorneys to pursue collection of the fraudulent and/or non-compensable charges from

 Travelers. These attorneys routinely file time-consuming and expensive lawsuits and arbitration

 matters against Travelers.

         538.    Travelers is under statutory and contractual obligations to promptly and fairly

 process workers’ compensation claims within 45 days.

         539.    Travelers is under statutory and contractual obligations to promptly and fairly

 process No-Fault claims within 30 days.

         540.    The facially valid documents submitted to Travelers by (or on behalf of) EMSI in

 support of the fraudulent charges at issue, combined with the material misrepresentations described

 above, were designed to and did, cause Travelers to justifiably rely on them.

         541.    The Defendants concealed from Travelers the truth regarding EMSI’s

 reimbursement eligibility under New York law.

         542.    In reasonable reliance on these misrepresentations, Travelers paid money to EMSI

 to its detriment.

         543.    Travelers would not have paid these monies had the Defendants provided true and

 accurate information about EMSI’s reimbursement eligibility under New York law, including the

 fact and necessity of the services purportedly provided to those Travelers Claimants and customers




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 of EMSI eligible for insurance coverage under an automobile or workers’ compensation insurance

 policy issued by Travelers.

        544.    As a result, Travelers was caused to pay EMSI over $340,000.00 in reasonable

 reliance on EMSI’s false claim reimbursement documentation.

 IX.    DAMAGES

        545.    The Defendants’ pattern of fraudulent conduct injured Travelers in its business and

 property by reason of the aforesaid violations of state and federal law. Although it is not necessary

 for Travelers to calculate damages with specificity at this stage in the litigation (whereas Travelers’

 damages continue to accrue), Travelers’ injury includes, but is not limited to, compensatory

 damages for payments to EMSI in connection with claims for No-Fault and workers’ compensation

 benefits in excess of $340,000.00, the exact amount to be determined at trial. The chart annexed

 at Exhibit 14, and incorporated herein as if set forth in its entirety, identifies Travelers’ payments

 to EMSI in connection with No-Fault and workers’ compensation claims determined to be

 fraudulent and non-compensable as of the filing of this Complaint.

 X.     CAUSES OF ACTION

                                          COUNT I
                            VIOLATIONS OF 18 U.S.C. § 1962(c)
                ELECTROSTIM MEDICAL SERVICES, INC. ENTERPRISE
             (Against Mario Garcia, Jr., Dean Muley, Gretchen Dacey-Zavalianos,
                             Yorlan Alfonso, and Rossana Cielo)

        546.    Travelers re-alleges, re-pleads, and incorporates by reference the allegations made

 in paragraphs 1 through 545 as if set forth fully herein.

        547.    In furtherance of their operation and management of Electrostim Medical Services,

 Inc., Defendants Mario Garcia, Jr., Dean Muley, Gretchen Dacey-Zavalianos, Yorlan Alfonso, and

 Rossana Cielo (collectively, “Count I Defendants”) intentionally prepared and mailed (or caused



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 to be prepared and mailed) false claim reimbursement documentation in connection with Travelers

 insurance claims in furtherance of this scheme to defraud.

        548.      The Count I Defendants employed two or more mailings to demand and/or receive

 payment on certain dates, including, but not limited to, those dates identified in the chart at Exhibit

 13.

        549.      Among other things, invoices, documents, notes, reports, invoices, prescription

 forms, letters of medical necessity, delivery receipts, CMS-1500 forms, assignment of benefits

 forms, other claim reimbursement documents, letters, and/or payment requests were routinely

 delivered to Travelers through the U.S. Mail.

        550.      Policies of insurance were delivered to two or more Travelers Claimants through

 the U.S. Mail.

        551.      Payments made by Travelers to Electrostim Medical Services, Inc. were delivered

 through the U.S. Mail.

        552.      As documented above, the Count I Defendants repeatedly and intentionally

 submitted, or caused to be submitted, invoices and other claim-related documentation to Travelers

 related to TENS/NMES Devices and supplies dispensed and delivered by Electrostim Medical

 Services, Inc. to collect payment from Travelers under the Travelers policies and applicable New

 York No-Fault and workers’ compensation laws.

        553.      When the Count I Defendants mailed (or caused the submission of) CMS-1500

 forms and other claim-related documents to Travelers seeking No-Fault and workers’

 compensation reimbursement, the Count I Defendants materially misrepresented Electrostim

 Medical Services, Inc.’s reimbursement eligibility under New York law.




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        554.    As a result of, and in reasonable reliance upon, the mailing of false documents and

 materially false representations, Travelers, by its agents and employees, issued drafts to

 Electrostim Medical Services, Inc. for the benefit of one or more of the Count I Defendants that

 would not otherwise have been paid.

        555.    The Count I Defendants’ pattern of preparing and mailing (or causing/directing the

 submission of) these documents and other claim-related materials, each appearing legitimate on

 their face, also prevented Travelers from discovering this scheme for a significant period, thus

 enabling the Count I Defendants to continue this scheme without being detected.

        556.    The facts set forth above constitute indictable offenses according to 18 U.S.C. §

 1341 (mail fraud).

        557.    The activities alleged in this case had the direct effect of causing funds to be

 transferred from Travelers to Electrostim Medical Services, Inc. for the benefit of the Count I

 Defendants.

        558.    Travelers is in the business of writing insurance and paying claims in the State of

 New York. Insurance fraud schemes practiced here and elsewhere have a deleterious impact on

 Travelers’s overall financial well-being and adversely affect insurance rates.

        559.    Electrostim Medical Services, Inc. constitutes an enterprise engaged in, and the

 activities of which affect, interstate commerce.

        560.    The Count I Defendants associated with the foregoing enterprise, and

 participated—both directly and indirectly—in the conduct of this enterprise through a pattern of

 racketeering activities.

        561.    Travelers is a “person” as defined by 18 U.S.C. § 1961(3) injured in its business or

 property because of the Count I Defendants’ conduct.



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        562.    The Count I Defendants’ conduct in violation of 18 U.S.C. § 1962(c) was the direct

 and proximate cause of Travelers’ injury.

        563.    Because of the Count I Defendants’ violations of 18 U.S.C. § 1962(c), Travelers is

 entitled to recover from them three times the damages sustained because of the claims submitted

 by them, and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.

                                         COUNT II
                          VIOLATIONS OF 18 U.S.C. § 1962(d)
               ELECTROSTIM MEDICAL SERVICES, INC. ENTERPRISE
            (Against Mario Garcia, Jr., Dean Muley, Gretchen Dacey-Zavalianos,
                            Yorlan Alfonso, and Rossana Cielo)

        564.    Travelers re-alleges, re-pleads, and incorporates by reference all paragraphs set

 forth above in paragraphs 1 through 545 as if fully set forth herein.

        565.    Through their participation in the operation and management of Electrostim

 Medical Services, Inc., Defendants Mario Garcia, Jr., Dean Muley, Gretchen Dacey-Zavalianos,

 Yorlan Alfonso, and Rossana Cielo (collectively, “Count II Defendants”) conspired with each

 other to violate 18 U.S.C. § 1962(d).

        566.    The Count II Defendants each agreed to participate in a conspiracy to violate 18

 U.S.C. § 1962(d) by agreeing to conduct the affairs of Electrostim Medical Services, Inc. through

 a pattern of racketeering activity, including numerous acts of mail fraud as outlined in Exhibit 13,

 and through the preparation and/or submission of fraudulent insurance claim documents, including

 CMS-1500 forms, to Travelers.

        567.    The purpose of the conspiracy was to obtain payments from Travelers on behalf of

 Electrostim Medical Services, Inc., even though Electrostim Medical Services, Inc., as a result of




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 the Count II Defendants’ unlawful conduct, was not eligible to collect such No-Fault and workers’

 compensation payments.

        568.    The Count II Defendants were aware of this purpose and agreed to take steps to

 meet the conspiracy’s objectives, including the creation of insurance claim documents containing

 material misrepresentations and/or material omissions.

        569.    Travelers has been injured in its business and property because of this conspiratorial

 conduct whereas Travelers has been induced to make No-Fault and workers’ compensation claim

 payments as a result of the defendants’ unlawful conduct described herein.

        570.    Because of this violation of 18 U.S.C. § 1962(d), the Count II Defendants are jointly

 and severally liable to Travelers, and Travelers is entitled to recover from each of the defendants

 identified three times the damages sustained because of the claims submitted by the defendants,

 and others acting in concert with them, together with the costs of suit, including reasonable

 attorney’s fees.

                                       COUNT III
                         VIOLATIONS OF 18 U.S.C. § 1962(c)
 ELECTROSTIM MEDICAL SERVICES, INC. ASSOCIATION-IN-FACT ENTERPRISE
   (Against Electrostim Medical Services, Inc., Mario Garcia, Jr., Dean Muley, Gretchen
                  Dacey-Zavalianos, Yorlan Alfonso, and Rossana Cielo)

        571.    Travelers re-alleges, re-pleads and incorporates by reference all paragraphs set forth

 above in paragraphs 1-545 as if set forth fully herein.

        572.    In furtherance of their operation and management of the Electrostim Medical

 Services, Inc. (“EMSI”) association-in-fact Enterprise, Defendants, Electrostim Medical Services,

 Inc., Mario Garcia, Jr., Dean Muley, Gretchen Dacey-Zavalianos, Yorlan Alfonso, and Rossana

 Cielo (collectively, “Count III Defendants”) intentionally prepared and mailed (or caused to be




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 mailed) false medical documentation in connection with Travelers insurance claims in furtherance

 of their scheme to defraud.

        573.    EMSI constitutes an association-in-fact “enterprise” (“the EMSI Association-in-

 Fact Enterprise”) as that term is defined in 18 U.S.C. § 1961(4), that engages in, and the activities

 of which affect, interstate commerce.

        574.    The members of the EMSI Association-in-Fact Enterprise are and have been

 associated through time, joined in purpose and organized in a manner amendable to hierarchal and

 consensual decision-making, with each member fulfilling a specific and necessary role to carry

 out and facilitate its common purpose.

        575.    The EMSI Association-in-Fact Enterprise members associated for the common

 purpose of facilitating the submission of fraudulent billing to Travelers for DME that was: (a)

 unlicensed; (b) unnecessary; (c) medically worthless; (d) billed pursuant to a pre-determined

 protocol; and (e) fraudulently billed.

        576.    There was a discernible structure amongst the Count III Defendants that was

 distinct from the EMSI Association-in-Fact Enterprise itself and the racketeering activity

 perpetrated by the Count III Defendants.

        577.    The Count III Defendants employed two or more mailings to demand and/or receive

 payment from Travelers on certain dates, including, but not limited to, those dates identified in the

 chart at Exhibit 13.

        578.    Among other things, prescriptions, delivery receipts, wholesale invoices, medical

 billing invoices, medical reports, applications for insurance, and premium checks were routinely

 delivered to Travelers through the U.S. Mail.

        579.    Policies of insurance were delivered to insureds through the U.S. Mail.



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         580.    Payments made by Travelers to EMSI were delivered through the U.S. Mail.

         581.    As documented above, the Count III Defendants repeatedly and intentionally

 submitted, or caused to be submitted, invoices to Travelers related to services that were

 purportedly performed by EMSI for the purpose of collecting payment from Travelers under

 Travelers’ policies of insurance and applicable New York No-Fault and workers’ compensation

 laws.

         582.    When the Count III Defendants mailed (or caused the submission of) CMS-1500

 forms and other claim-related documents to Travelers seeking No-Fault and workers’

 compensation reimbursement, the Count III Defendants materially misrepresented EMSI’s

 reimbursement eligibility under New York law.

         583.    As a result of, and in reasonable reliance upon, the mailing of false documents and

 materially false representations, Travelers, by its agents and employees, issued drafts to EMSI, for

 the benefit of one or more of the Count III Defendants, that would not otherwise have been paid.

         584.    The Count III Defendants’ pattern of preparing and mailing (or causing/directing

 the submission of) these documents, each appearing legitimate on their face, also prevented

 Travelers from discovering this scheme for a long period of time, thus enabling the Count III

 Defendants to continue without being detected.

         585.    The facts set forth above constitute indictable offenses pursuant to 18 U.S.C. § 1341

 (mail fraud).

         586.    By creating and then mailing to Travelers (or directing the creation and subsequent

 mailing to Travelers) of numerous fraudulent documents in an ongoing scheme, the Count III

 Defendants engaged in a pattern of racketeering activity within the meaning of 18 U.S.C. §

 1962(c).



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        587.    The activities alleged in this case had the direct effect of causing funds to be

 transferred from Travelers to EMSI for the benefit of the Count III Defendants.

        588.    Travelers is in the business of writing insurance and paying claims in the State of

 New York. Insurance fraud schemes practiced here and elsewhere have a deleterious impact on

 Travelers’ overall financial well-being and adversely affect insurance rates.

        589.    The EMSI Association-in-Fact Enterprise constitutes an enterprise engaged in, and

 the activities of which affect, interstate commerce.

        590.    The Count III Defendants associated with the EMSI Association-in-Fact Enterprise,

 and participated—both directly and indirectly—in the conduct of the this enterprise through a

 pattern of racketeering activities.

        591.    Travelers is a “person” as defined by 18 U.S.C. § 1961(3), injured in its business

 or property by reason of the Count III Defendants’ conduct.

        592.    The Count III Defendants’ conduct in violation of 18 U.S.C. § 1962(c) was the

 direct and proximate cause of Travelers’ injury.

        593.    By virtue of the Count III Defendants’ violations of 18 U.S.C. § 1962(c), Travelers

 is entitled to recover from them three times the damages sustained by reason of the claims

 submitted by them, and others acting in concert with them, together with the costs of suit, including

 reasonable attorney’s fees.

                                       COUNT IV
                         VIOLATIONS OF 18 U.S.C. § 1962(d)
 ELECTROSTIM MEDICAL SERVICES, INC. ASSOCIATION-IN-FACT ENTERPRISE
   (Against Electrostim Medical Services, Inc., Mario Garcia, Jr., Dean Muley, Gretchen
                  Dacey-Zavalianos, Yorlan Alfonso, and Rossana Cielo)

        594.    Travelers re-alleges, re-pleads and incorporates by reference the allegations set

 forth in paragraphs 1-545 as if set forth fully herein.



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         595.    Throughout their participation in the operation and management of the Electrostim

  Medical Services, Inc. (“EMSI”) association-in-fact Enterprise, Defendants, Electrostim Medical

  Services, Inc., Mario Garcia, Jr., Dean Muley, Gretchen Dacey-Zavalianos, Yorlan Alfonso, and

  Rossana Cielo (collectively, “Count IV Defendants”) conspired with each other to violate 18

  U.S.C. § 1962(c).

         596.    The Defendants collectively constitute an association-in-fact “enterprise” (“the

  EMSI Association-in-Fact Enterprise”) as that term is defined in 18 U.S.C. § 1961(4), that engages

  in, and the activities of which affect, interstate commerce.

         597.    The members of the EMSI Association-in-Fact Enterprise are and have been

  associated through time, joined in purpose and organized in a manner amendable to hierarchal and

  consensual decision-making, with each member fulfilling a specific and necessary role to carry

  out and facilitate its common purpose.

         598.    The EMSI Association-in-Fact Enterprise members associated for the common

  purpose of conspiring to submit fraudulent billing to Travelers for DME that was: (a) unlicensed;

  (b) unnecessary; (c) medically worthless; (d) billed pursuant to a pre-determined protocol; and (e)

  fraudulently billed.

         599.    There was a discernible structure amongst the Count IV Defendants that was

  distinct from the EMSI Association-in-Fact Enterprise itself.

         600.    The Count IV Defendants each agreed to participate in a conspiracy to violate 18

  U.S.C. § 1962(c) by agreeing to conduct the affairs of EMSI Association-in-Fact Enterprise by

  means of a pattern of racketeering activity, namely using the U.S. Mail to send fraudulent invoices

  and other claim-related documents to Travelers in connection with No-Fault and workers’




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  compensation claims, including, without limitation, the numerous instances of mail fraud set forth

  in Exhibit 13.

          601.     The purpose of the conspiracy was to obtain benefit payments from Travelers on

  behalf of EMSI, even though EMSI, as a result of the Count IV Defendants’ unlawful conduct,

  was not eligible to collect such benefit payments.

          602.     The Count IV Defendants were aware of this purpose and agreed to take steps to

  meet the conspiracy’s objectives, including the creation of and mailing of documents and other

  claim-related materials, including invoices, containing misrepresentations.

          603.     Travelers has been injured in its business and property by reason of this

  conspiratorial conduct whereas Travelers has been induced to make No-Fault payments as a result

  of the Count IV Defendants’ unlawful conduct described herein.

          604.     By virtue of this violation of 18 U.S.C. § 1962(d), the Count IV Defendants are

  jointly and severally liable to Travelers, and Travelers is entitled to recover from each of the Count

  IV Defendants three times the damages sustained by reason of the claims submitted by EMSI, and

  others acting in concert with them, together with the costs of suit, including reasonable attorney’s

  fees.

                                            COUNT V
                                      COMMON LAW FRAUD
                                      (Against All Defendants)

          605.     Travelers re-alleges, re-pleads, and incorporates by reference all paragraphs set

  forth above in paragraphs 1 through 545 as if fully set forth herein.

          606.     The Defendants schemed to defraud Travelers by, among other things (a)

  unlicensed and unlawful dispensing of DME, (b) billing Travelers for TENS/NMES Devices and

  supplies that were not medically necessary and were completely unjustified to treat the Travelers



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  Claimants’ purported injuries, (c) falsely charging for TENS/NMES Devices and supplies with the

  knowledge that such drugs were not lawfully reimbursable under New York’s No-Fault and

  workers’ compensation laws, (d) charging Travelers for TENS/NMES Devices and supplies at

  grossly excessive rates and in violation of applicable Fee Schedules, and (e) dispensing

  TENS/NMES Devices and supplies in violation of applicable regulatory requirements.

         607.    The Defendants’ scheme to defraud Travelers was dependent upon a succession of

  material misrepresentations of fact related to Electrostim Medical Services, Inc.’s eligibility for

  and entitlement to No-Fault and workers’ compensation reimbursement under New York law.

         608.    The misrepresentations of fact by the Defendants included, but were not limited to,

  material misrepresentations of fact made in Electrostim Medical Services, Inc.’s invoices,

  prescription forms, patient treatment records, delivery receipts, letters of medical necessity, health

  insurance claim forms, other workers’ compensation claim reimbursement documents, letters,

  and/or payment requests.

         609.    The Defendants’ representations were false or required disclosure of additional

  facts to render the documents, information, and materials furnished not misleading.

         610.    The misrepresentations were intentionally made by the Defendants in furtherance

  of their scheme to defraud Travelers by submitting claims on behalf of Electrostim Medical

  Services, Inc. demanding payment of No-Fault and workers’ compensation insurance benefits.

         611.    The Defendants knew that the representations contained in the No-Fault and

  workers’ compensation claim reimbursement documentation relating to Travelers’ Claimants were

  false, and were made to induce Travelers to make payments for claims that were not legitimate or

  lawfully compensable.




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          612.   Travelers reasonably relied, to its detriment, upon the Defendants’ material

  misrepresentations concerning Electrostim Medical Services, Inc.’s eligibility to receive No-Fault

  and workers’ compensation reimbursement in paying numerous bills for the TENS/NMES Devices

  and supplies according to New York law.

          613.   Travelers’ damages include, but are not necessarily limited to, monies paid to

  Electrostim Medical Services, Inc.—totaling more than $340,000.00—for TENS/NMES Devices

  and other equipment and supplies purportedly dispensed to Travelers’ Claimants, even though

  Electrostim Medical Services, Inc. was, at all relevant times, ineligible to receive No-Fault and

  workers’ compensation reimbursement under New York law.

                                         COUNT VI
                      DECLARATORY RELIEF UNDER 28 U.S.C. § 2201
                         (Against Electrostim Medical Services, Inc.)

          614.   Travelers re-alleges, re-pleads, and incorporates by reference the allegations made

  in paragraphs 1 through 545 as if set forth fully herein.

          615.   To be eligible to receive assigned No-Fault and workers’ compensation benefits,

  the provider of healthcare services, including providers of durable medical equipment, must adhere

  to all applicable New York statutes that grant the authority to provide healthcare services in New

  York.

          616.   In view of its (a) unlicensed and unlawful dispensing of DME, (b) billing Travelers

  for TENS/NMES Devices and supplies that were not medically necessary and were completely

  unjustified to treat the Travelers Claimants’ purported injuries, (c) falsely charging for

  TENS/NMES Devices and supplies with the knowledge that they were not lawfully reimbursable

  under New York’s No-Fault and workers’ compensation laws, (d) charging Travelers for

  TENS/NMES Devices and supplies at grossly excessive rates and in violation of applicable Fee



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  Schedules, and (e) dispensing TENS/NMES Devices and supplies in violation of applicable

  regulatory requirements, Electrostim Medical Services, Inc. was, at all relevant times, completely

  ineligible for No-Fault and workers’ compensation reimbursement under New York law, and thus

  has no standing to submit or receive assigned No-Fault and workers’ compensation benefits.

            617.   Electrostim Medical Services, Inc. continues to submit assigned No-Fault and

  workers’ compensation claims to Travelers demanding payment, and other assigned No-Fault and

  workers’ compensation claims remain pending with Travelers.

            618.   Electrostim Medical Services, Inc. continues to challenge Travelers’ prior claim

  denials.

            619.   Electrostim Medical Services, Inc. continues to pursue collections against Travelers

  seeking payment of No-Fault and workers’ compensation benefits allegedly due and owing.

            620.   A justifiable controversy exists between Travelers and Electrostim Medical

  Services, Inc. because Electrostim Medical Services, Inc. rejects Travelers’ ability to deny such

  claims.

            621.   Travelers has no adequate remedy at law.

            622.   Electrostim Medical Services, Inc. also will continue to bill Travelers for No-Fault

  and workers’ compensation benefit payments absent a declaration by this Court that its activities

  are unlawful, and that Travelers has no obligation to pay the pending, previously denied, and/or

  future No-Fault and workers’ compensation claims submitted by Electrostim Medical Services,

  Inc.

            623.   Under New York law, the Defendants have no legal right to seek, collect, or retain

  No-Fault and workers’ compensation benefit payments made by Travelers in connection with

  claims submitted by (or on behalf of) the Defendants because Electrostim Medical Services, Inc.



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  (a) billed for unlicensed and unlawful dispensing of DME, (b) billed Travelers for TENS/NMES

  Devices and supplies that were not medically necessary and were completely unjustified to treat

  the Travelers Claimants’ purported injuries, (c) falsely charged for TENS/NMES Devices and

  supplies with the knowledge that such drugs were not lawfully reimbursable under New York’s

  No-Fault and workers’ compensation laws, (d) charged Travelers for TENS/NMES Devices and

  supplies at grossly excessive rates and in violation of applicable Fee Schedules, and (e) dispensed

  TENS/NMES Devices and supplies in violation of applicable regulatory requirements.

         624.    Accordingly, Travelers requests a judgment according to the Declaratory Judgment

  Act, 28 U.S.C. §§ 2201 and 2202 declaring (a) that Electrostim Medical Services, Inc. has no

  standing to seek, collect, or retain any payments made by Travelers in connection with assigned

  No-Fault and workers’ compensation benefits, and (b) that Travelers has no legal obligation to

  make any payment on any unpaid or otherwise pending bills that have been submitted to Travelers

  by, or on behalf of, Electrostim Medical Services, Inc.

  XI.    DEMAND FOR RELIEF

         WHEREFORE, plaintiffs, Travelers Personal Insurance Company, St. Paul Fire and

  Marine Insurance Company, St. Paul Mercury Insurance Company, The Charter Oak Fire

  Insurance Company, The Phoenix Insurance Company, The Travelers Home and Marine Insurance

  Company, The Travelers Indemnity Company, The Travelers Indemnity Company of America,

  The Travelers Indemnity Company of Connecticut, Travelers Casualty and Surety Company,

  Travelers Casualty Insurance Company of America, Travelers Personal Security Insurance

  Company, Travelers Property Casualty Company of America, The Standard Fire Insurance

  Company, The Automobile Insurance Company of Hartford, Connecticut, and United States




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  Fidelity and Guaranty Company (collectively, “Travelers”), respectfully pray that judgment to

  enter in their favor, as follows:

                                           COUNT I
                             VIOLATIONS OF 18 U.S.C. § 1962(c)
                 ELECTROSTIM MEDICAL SERVICES, INC. ENTERPRISE
              (Against Mario Garcia, Jr., Dean Muley, Gretchen Dacey-Zavalianos,
                              Yorlan Alfonso, and Rossana Cielo)

      (a) AWARD Travelers’ actual and consequential damages to be established at trial;

      (b) AWARD Travelers’ treble damages according to 18 U.S.C. § 1964, interests, costs, and

          attorneys’ fees;

      (c) GRANT injunctive relief enjoining the Count I Defendants from engaging in the wrongful

          conduct alleged in the Complaint; and

      (d) GRANT all other relief this Court deems just.

                                           COUNT II
                            VIOLATIONS OF 18 U.S.C. § 1962(d)
                 ELECTROSTIM MEDICAL SERVICES, INC. ENTERPRISE
              (Against Mario Garcia, Jr., Dean Muley, Gretchen Dacey-Zavalianos,
                              Yorlan Alfonso, and Rossana Cielo)

      (a) AWARD Travelers’ actual and consequential damages to be established at trial;

      (b) AWARD Travelers’ treble damages according to 18 U.S.C. § 1964, interests, costs, and

          attorneys’ fees;

      (c) GRANT injunctive relief enjoining the Count II Defendants from engaging in the wrongful

          conduct alleged in the Complaint; and

      (d) GRANT all other relief this Court deems just.

                                        COUNT III
                          VIOLATIONS OF 18 U.S.C. § 1962(c)
  ELECTROSTIM MEDICAL SERVICES, INC. ASSOCIATION-IN-FACT ENTERPRISE
    (Against Electrostim Medical Services, Inc., Mario Garcia, Jr., Dean Muley, Gretchen
                   Dacey-Zavalianos, Yorlan Alfonso, and Rossana Cielo)



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     (a) AWARD Travelers’ actual and consequential damages to be established at trial;

     (b) AWARD Travelers’ treble damages according to 18 U.S.C. § 1964, interests, costs, and

        attorneys’ fees;

     (c) GRANT injunctive relief enjoining the Count III Defendants from engaging in the

        wrongful conduct alleged in the Complaint; and

     (d) GRANT all other relief this Court deems just.

                                        COUNT IV
                          VIOLATIONS OF 18 U.S.C. § 1962(d)
  ELECTROSTIM MEDICAL SERVICES, INC. ASSOCIATION-IN-FACT ENTERPRISE
    (Against Electrostim Medical Services, Inc., Mario Garcia, Jr., Dean Muley, Gretchen
                   Dacey-Zavalianos, Yorlan Alfonso, and Rossana Cielo)

     (a) AWARD Travelers’ actual and consequential damages to be established at trial;

     (b) AWARD Travelers’ treble damages according to 18 U.S.C. § 1964, interests, costs, and

        attorneys’ fees;

     (c) GRANT injunctive relief enjoining the Count IV Defendants from engaging in the

        wrongful conduct alleged in the Complaint; and

     (d) GRANT all other relief this Court deems just.

                                         COUNT V
                                   COMMON LAW FRAUD
                                   (Against All Defendants)

     (a) AWARD Travelers’ actual damages in an amount to be determined at trial;

     (b) AWARD Travelers its costs, including, but not limited to, investigative costs incurred in

        the detection of the Defendants’ illegal conduct; and

     (c) GRANT any other relief this Court deems just.




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                                         COUNT VI
                      DECLARATORY RELIEF UNDER 28 U.S.C. § 2201
                         (Against Electrostim Medical Services, Inc.)

     (a) DECLARE that Electrostim Medical Services, Inc., at all relevant times, was caused to be

         submit charges in violation of New York No-Fault and workers’ compensation laws, thus

         rendering Electrostim Medical Services, Inc. completely ineligible to seek or receive

         reimbursement under New York’s No-Fault and workers’ compensation laws;

     (b) DECLARE that Electrostim Medical Services, Inc.’s activities are unlawful;

     (c) DECLARE that Travelers has no obligation to pay any pending, previously-denied, and/or

         future No-Fault and workers’ compensation insurance claims submitted by Electrostim

         Medical Services, Inc.; and

     (d) GRANT all other relief this Court deems just and appropriate.

  XII.   JURY TRIAL DEMAND

         The plaintiffs demand a trial by jury on all claims.




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                                  Travelers Casualty Insurance Company of America,
                                  Travelers Personal Security Insurance Company,
                                  Travelers Property Casualty Company of America,
                                  The Standard Fire Insurance Company,
                                  The Automobile Insurance Company of Hartford,
                                  Connecticut, and
                                  United States Fidelity and Guaranty Company


  Dated: November 22, 2024




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